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                                    POLICY COVER PAGE


Date Printed: 03/30/10                             Policy/Quote Number:   13074559
Time Printed: 000001




                Underwriter Name:                DUSTIN SCHULER
                Issuing Office Division:         0008
                Issuing Office Branch:           0031
                Issuing Office Region:
                Operator Name:                   WILLIS           ,AVADONN
                Operator Telephone:              913-495-4243
                Policy Effective Date:           March 31, 2010

                Transaction Type:                REN

                Set Copy Name:
                Set Copy Mailing Instructions:




EPS TRACKING-ID:          0001609145000010089
JOB-ID:



   (Ed. 4-99)
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  Case 6:21-cv-04191-RRS-CBW Document 1-11 Filed 12/07/21 Page 2 of 91 PageID #: 117

  EXCESS CASUALTY, A DIVISION OF CHARTIS
  2929 ALLEN PARKWAY
  SUITE 1300
  HOUSTON, TEXAS 77019-2128




                         Re: KNIGHT OIL TOOLS INC




                                           WENDY ARCEMENT @
                                           KNOX INSURANCE GROUP LLC
                                           PO BOX 53406
                                           LAFAYETTE, LA 70505-3406




                Commercial Insurance NOW USES RECYCLED PAPER

AH1079
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Date: March 30, 2010


                                                                           2929 Allen Parkway, Suite 1300
                                                                           Houston, Texas 77019-2128

                                                                           d/b/a RSCIA in NH, VT & UT


Attn: WENDY ARCEMENT
      KNOX INSURANCE GROUP LLC
      PO BOX 53406
      LAFAYETTE, LA 70505-3406



RE: KNIGHT OIL TOOLS INC

     Policy Number: BE         13074559
     Policy Effective/Expiration: From: March 31, 2010            To: March 31, 2011


Dear WENDY,

Enclosed are one original and one copy of the policy for the above captioned account. Upon review of the policy, we
believe it is complete and accurate based upon the binder. However, if you have any questions or concerns, feel free to
give me a call.

Thank you for the opportunity to be of service to your company on this account. We look forward to working with you on
future opportunities.




Best regards,



CLINT LASKOSKIE
SENIOR UNDERWRITER
713-342-7359




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                               POLICYHOLDER NOTICE


Thank you for purchasing insurance from the Chartis companies. Chartis insurance
companies generally pay compensation to brokers and independent agents, and may
have paid compensation in connection with your policy. You can review and obtain
information about the nature and range of compensation paid by Chartis insurance
companies to brokers and independent agents in the United States by visiting our
website at www.chartisinsurance.com/producercompensation or by calling 1-800-706-
3102.




91222 (12/09)
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                                        FORMS SCHEDULE

   Named Insured:     KNIGHT OIL TOOLS INC

   Policy Number:      BE    13074559
   Effective 12:01 AM: March 31, 2010
                                                                   Form Number/
End't. No.    Form Name                                            Edition Date

              CHARTIS SPEC PRIME DEC                               81071    (11/09)
              CHARTIS SPEC PRIME JACKET                            81070    (11/09)
              SCHEDULE OF UNDERLYING                               UNDSCH   (05/99)
              POLICYHOLDER DISC - NOTICE OF TERRORISM INS COVG     96556    (01/08)
      1       ACT OF TERRORISM SIR ENDORSEMENT                     83049    (03/06)
      2       CRISISRESPONSE COVERAGE ENHANCEMENT ENDORSEMENT      94621    (05/07)
      3       COVERAGE TERRITORY ENDT.                             89644    (07/05)
      4       VIOLATION OF ECONOMIC OR TRADE SANCTIONS COND. AM    99497    (06/08)
      5       VIOLATION OF ECO. OR TRADE SANCTIONS COND. AMEND.    101111   (03/09)
      6       DUTIES IN THE EVENT OF AN OCCURRENCE, CLAIM, OR SU   83687    (11/09)
      7       Duties in the Event of an Occurrence, Claim, or Su   83687    (01/10)
      8       LOUISIANA AMENDATORY ENDT                            78807    (03/03)
      9       AIRCRAFT PRODUCTS AND GROUNDING EXCLUSION ENDT       86428    (02/09)
     10       ARCHITECTS AND ENGINEERS PROFESSIONAL LIABILITY EX   86448    (06/05)
     11       AUTOMOBILE LIABILITY FOLLOW-FORM ENDORSEMENT         80398    (07/02)
     12       BACTERIA EXCLUSION ENDORSEMENT                       90985    (05/06)
     13       CROSS SUITS EXCLUSION PRIME                          80411    (01/04)
     14       DISCRIMINATION EXCLUSION ENDT                        86558    (08/04)
     15       ELECTROMAGNETIC FIELDS EXCLUSION                     80418    (07/02)
     16       EMP.LIAB.STOP-GAPLMT.ENDT                            82616    (05/06)
     17       EMPLOYEE BENEFITS LIAB LIMIT (CM)                    83073    (09/03)
     18       EMPLOYERS LIAB.LIMIT. ENDT.                          83071    (11/03)
     19       FOR. LIAB. LMT. ENDT.(APP. TO SPEC. CTYS)            83078    (05/09)
     20       FUNGUS EXCLUSION ENDT                                82449    (06/03)
     21       LEAD EXCLUSION ENDORSEMENT                           86471    (02/06)
     22       MAR. LIAB. LMT. ENDT. INC. JONES ACT AND USLH        86411    (08/04)
     23       MTBE AND OTHER FUEL OXYGENATES EXCLUSION ENDT        80449    (02/03)
     24       PROFESSIONAL LIABILITY EXCLUSION ENDORSEMENT         83093    (05/05)
     25       RADIOACTIVE MATTER EXCL                              83094    (09/03)
     26       SILICA EXCLUSION ENDT                                80479    (02/03)
     27       SEXUAL ABUSE OR MOLESTATION EXCLUSION                80478    (07/02)
     28       TESTING OR CONSULTING ERRORS AND OMISSIONS EXCLUSI   89485    (06/05)
     29       TIME ELEMENT SIR POLLUTION ENDT                      80499    (06/03)
     30       CANCELLATION CLAUSE AMENDED ENDT (CREDIT RATING TR   100085   (09/08)
     31       RETAINED LIMIT AMENDATORY ENDT.                      81583    (04/07)
     32       DESIGNATED ENTITY SUBLIMIT OF INS.                   87213    (12/04)
     33       WATERCRAFT WORK PLATFORM COVERAGE ENDT               MNSCPT   (03/10)
     34       AIRCRAFT & WATERCRAFT LIMITATION                     MNSCPT   (03/10)
     35       SCHEDULE OF NAMED INSURED(S) ENDORSEMENT             MNSCPT   (03/10)




CIFMSC
CI0226              Archive Copy
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                                CHARTIS SPECIALTY INSURANCE COMPANY
                                              A Capital Stock Insurance Company
                                                        175 Water Street
                                                     New York, NY 10038



NOTICE:         THIS INSURER IS NOT LICENSED IN THE STATE OF NEW YORK AND IS NOT SUBJECT TO ITS
                SUPERVISION.


                                        Umbrella Prime
                      Commercial Umbrella Liability Policy With CrisisResponse

                                                      DECLARATIONS
POLICY NUMBER: BE           13074559                         RENEWAL OF:     7411282

ITEM 1. NAMED INSURED:          KNIGHT OIL TOOLS INC

        MAILING ADDRESS:        P.O. BOX 52688
                                LAFAYETTE, LA 70505-2688


ITEM 2. POLICY PERIOD: FROM: March 31, 2010                     TO: March 31, 2011
                       (At 12:01 A.M., standard time, at the address of the Named Insured stated above.)

ITEM 3. LIMITS OF INSURANCE
        The Limits of Insurance, subject to the terms of this policy, are:
        A.   $25,000,000          Each Occurrence
        B.   $25,000,000          General Aggregate (in accordance with Section IV. Limits of Insurance)
        C.   $25,000,000          Products-Completed Operations Aggregate (in accordance with Section IV. Limits of Insurance)
        D.   $250,000             CrisisResponse Sublimit of Insurance
        E.   $50,000              Excess Casualty CrisisFund Limit of Insurance

ITEM 4. SCHEDULED UNDERLYING INSURANCE - See Schedule of Underlying Insurance

ITEM 5. SELF-INSURED RETENTION -                                Each Occurrence

ITEM 6. PREMIUM AND PREMIUM COMPUTATION
        ESTIMATED TOTAL ANNUAL EXPOSURE                           NOT APPLICABLE
        RATES PER                                                 FLAT
        MINIMUM PREMIUM
        ADVANCE PREMIUM



ITEM 7. THIS POLICY INCLUDES THESE ENDORSEMENTS AT INCEPTION DATE: SEE ATTACHED SCHEDULE


PRODUCER NAME: KNOX INSURANCE GROUP LLC
ADDRESS:       PO BOX 53406
               LAFAYETTE, LA 70505-3406




                                                          Authorized Representative or                           Date
                                                          Countersignature (Where Applicable)

81071 (11/09)                                                                                      Issue Date:   03/30/10
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                               CHARTIS SPECIALTY INSURANCE COMPANY

                                      A Capital Stock Insurance Company
                                                175 Water Street
                                             New York, NY 10038


NOTICE: THIS INSURER IS NOT LICENSED IN THE STATE OF NEW YORK AND IS NOT
        SUBJECT TO ITS SUPERVISION.

                                         Umbrella Prime
                      Commercial Umbrella Liability Policy With CrisisResponse

Various provisions in this policy restrict coverage. Read the entire policy carefully to determine rights, duties and what
is and is not covered.

Throughout this policy the words "you" and "your" refer to the Named Insured shown in the Declarations and any
other person or organization qualifying as a Named Insured under this policy. The words "we," "us" and "our" refer
to the company providing this insurance.

The word Insured means any person or organization qualifying as such under Section VII. Definitions.

Except for headings, words that appear in bold print have special meaning. See Section VII. Definitions.


In consideration of the payment of the premium and in reliance upon the statements in the Declarations, we agree to
provide coverage as follows:

I.   INSURING AGREEMENT - COMMERCIAL UMBRELLA LIABILITY

A. We will pay on behalf of the Insured those sums in excess of the Retained Limit that the Insured becomes legally
   obligated to pay as damages by reason of liability imposed by law because of Bodily Injury, Property Damage or
   Personal Injury and Advertising Injury to which this insurance applies or because of Bodily Injury or Property
   Damage to which this insurance applies assumed by the Insured under an Insured Contract.

     The amount we will pay for damages is limited as described in Section IV. Limits of Insurance.

B. This policy applies, only if:

     1. the Bodily Injury or Property Damage is caused by an Occurrence that takes place anywhere, and the
        Bodily Injury or Property Damage occurs during the Policy Period; and

     2. the Personal Injury and Advertising Injury is caused by an Occurrence that takes place anywhere arising
        out of your business, but only if the Occurrence was committed during the Policy Period.

C. 1. This policy applies to Bodily Injury or Property Damage, only if prior to the Policy Period, no Insured listed
      under subparagraphs 2a., 2b., 2c. or 2e. of Paragraph M. of Section VII., no executive officer or director listed
      under subparagraph 2d. of Paragraph M. of Section VII. and no employee authorized by you to give or receive
      notice of an Occurrence, claim or Suit, knew that the Bodily Injury or Property Damage had occurred, in
      whole or in part. If such an Insured or authorized employee knew, prior to the Policy Period, that the Bodily
      Injury or Property Damage had occurred, then any continuation, change or resumption of such Bodily Injury
      or Property Damage during or after the Policy Period will be deemed to have been known prior to the Policy
      Period.

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    2. Bodily Injury or Property Damage which occurs during the Policy Period and was not, prior to the Policy
       Period, known to have occurred by any Insured listed under subparagraphs 2a., 2b., 2c. or 2e. of Paragraph
       M. of Section VII., any executive officer or director listed under subparagraph 2d. of Paragraph M. of Section VII.
       or any employee authorized by you to give or receive notice of an Occurrence or claim, includes any
       continuation, change or resumption of that Bodily Injury or Property Damage after the end of the Policy
       Period.

D. Bodily Injury or Property Damage will be deemed to have been known to have occurred at the earliest time when
   any Insured listed under subparagraphs 2a., 2b., 2c. or 2e. of Paragraph M. of Section VII, any executive officer or
   director listed under subparagraph 2d. of Paragraph M. of Section VII. or any employee who was authorized by you
   to give or receive notice of an Occurrence, claim or Suit:

    1. reports all, or any part, of the Bodily Injury or Property Damage to us or any other insurer;

    2. receives a written or verbal demand or claim for damages because of the Bodily Injury or Property Damage;
       or

    3. becomes aware by any other means that Bodily Injury or Property Damage has occurred or has begun to
       occur.

E. Damages because of Bodily Injury include damages claimed by any person or organization for care, loss of
   services or death resulting at any time from the Bodily Injury.

F. If we are prevented by law or statute from paying damages covered by this policy on behalf of the Insured, then we
   will indemnify the Insured for those sums in excess of the Retained Limit.

II. INSURING AGREEMENT-CRISISRESPONSE® AND EXCESS CASUALTY CRISISFUND®

A. CrisisResponse

    We will advance CrisisResponse Costs directly to third parties on behalf of the Named Insured, regardless of
    fault, arising from a Crisis Management Event first commencing during the Policy Period, up to the amount of the
    CrisisResponse Sublimit of Insurance.

B. Excess Casualty CrisisFund

    We will pay Crisis Management Loss on behalf of the Named Insured arising from a Crisis Management Event
    first commencing during the Policy Period, up to the amount of the Excess Casualty CrisisFund Limit of
    Insurance.

C. A Crisis Management Event will first commence at the time during the Policy Period when a Key Executive
   first becomes aware of an Occurrence that gives rise to a Crisis Management Event and will end when we
   determine that a crisis no longer exists or when the CrisisResponse Sublimit of Insurance has been exhausted,
   whichever occurs first.

D. There will be no Retained Limit applicable to CrisisResponse Costs or Crisis Management Loss.

E. Any advancement of CrisisResponse Costs or payment of Crisis Management Loss that we make under the
   coverage provided by this Section II. will not be a determination of our obligations under this policy, nor create any
   duty to defend any Suit under any other part of this policy.

III. DEFENSE PROVISIONS

A. We will have the right and duty to defend any Suit against the Insured that seeks damages for Bodily Injury,
   Property Damage or Personal Injury and Advertising Injury covered by this policy, even if the Suit is
   groundless, false or fraudulent when:



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    1. the total applicable limits of Scheduled Underlying Insurance have been exhausted by payment of Loss to
       which this policy applies and the total applicable limits of Other Insurance have been exhausted; or

    2. the damages sought because of Bodily Injury, Property Damage or Personal Injury and Advertising Injury
       would not be covered by Scheduled Underlying Insurance or any applicable Other Insurance, even if the
       total applicable limits of either the Scheduled Underlying Insurance or any applicable Other Insurance had
       not been exhausted by the payment of Loss.

    If we are prevented by law or statute from assuming the obligations specified under this provision, we will pay any
    expenses incurred with our consent.

B. We will have no duty to defend the Insured against any Suit seeking damages for Bodily Injury, Property
   Damage or Personal Injury and Advertising Injury to which this insurance does not apply.

C. When we assume the defense of any Suit against the Insured that seeks damages covered by this policy, we will:

    1. investigate, negotiate and settle the Suit as we deem expedient; and

    2. pay the following supplementary payments to the extent that such payments are not covered by Scheduled
       Underlying Insurance or any applicable Other Insurance:

        a. premiums on bonds to release attachments for amounts not exceeding the applicable Limits of Insurance of
           this policy, but we are not obligated to apply for or furnish any such bond;

        b. premiums on appeal bonds required by law to appeal a judgment in a Suit for amounts not exceeding the
           applicable Limits of Insurance of this policy, but we are not obligated to apply for or furnish any such bond;

        c. all court costs taxed against the Insured in the Suit;

        d. pre-judgment interest awarded against the Insured on that part of the judgment within the applicable Limits
           of Insurance of this policy we pay. If we make an offer to pay the applicable limit of insurance, we will not
           pay any pre-judgment interest accruing after we make such offer;

        e. post-judgment interest that accrues after entry of judgment on that part of the judgment within the applicable
           Limits of Insurance of this policy we pay and before we have paid, offered to pay or deposited in court that
           part of the judgment that is within the applicable Limits of Insurance of this policy; and

        f.   the Insured's expenses incurred at our request or with our consent.

D. Except as provided in Paragraph A. above, we will have no duty to defend any Suit against the Insured. We will,
   however, have the right, but not the duty, to participate in the defense of any Suit and the investigation of any claim
   to which this policy may apply. If we exercise this right, we will do so at our own expense.

E. We will not defend any Suit, or pay any attorney fees or litigation expenses including, without limitation, the
   expenses described in Paragraph C. above that accrue after the applicable Limits of Insurance of this policy have
   been exhausted by the payment of Loss and we will have the right to withdraw from the further defense of such
   Suit by tendering control of said defense to the Insured.

IV. LIMITS OF INSURANCE

A. The Limits of Insurance shown in Item 3. of the Declarations and the rules below state the most we will pay for all
   damages under this policy regardless of the number of:

    1. Insureds;

    2. claims made or Suits brought;




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     3. persons or organizations making claims or bringing Suits; or

     4. coverages provided under this policy.

B. The General Aggregate Limit stated in Item 3. of the Declarations is the most we will pay for all damages under this
   policy, except for:

     1. damages included within the Products-Completed Operations Hazard; and

     2. damages because of Bodily Injury or Property Damage to which this policy applies, caused by an
        Occurrence and resulting from the ownership, maintenance or use of an Auto covered under Scheduled
        Underlying Insurance.

C. The Products-Completed Operations Aggregate Limit stated in Item 3C. of the Declarations is the most we will pay
   for all damages included in the Products-Completed Operations Hazard.

D. Subject to Paragraphs B. and C. above, the Each Occurrence Limit stated in Item 3A. of the Declarations is the
   most we will pay for the sum of all damages arising out of any one Occurrence.

E. Subject to Paragraphs B. and C. above, the most we will pay for damages under this policy on behalf of any person
   or organization to whom you are obligated by written Insured Contract to provide insurance such as is afforded by
   this policy is the lesser of the Limits of Insurance shown in Item 3. of the Declarations or the minimum Limits of
   Insurance you agreed to procure in such written Insured Contract.

F. This policy applies only in excess of the Retained Limit. If however, a policy shown in the Schedule of Underlying
   Insurance forming a part of this policy has a limit of insurance:

     1. greater than the amount shown in such schedule, this policy will apply in excess of the greater amount of valid
        and collectible insurance; or

     2. less than the amount shown in such schedule, this policy will apply in excess of the amount shown in the
        Schedule of Underlying Insurance forming a part of this policy.

G. If the total applicable limits of Scheduled Underlying Insurance are reduced or exhausted by the payment of
   Loss to which this policy applies and the total applicable limits of applicable Other Insurance are reduced or
   exhausted, we will:

     1. in the event of reduction, pay excess of the remaining total applicable limits of Scheduled Underlying
        Insurance and any applicable Other Insurance; and

     2. in the event of exhaustion, continue in force as underlying insurance.

H. Expenses incurred to defend any Suit or to investigate any claim will be in addition to the applicable Limits of
   Insurance of this policy. Provided, however, that if such expenses reduce the applicable limits of Scheduled
   Underlying Insurance, then such expenses will reduce the applicable Limits of Insurance of this policy.

I.   The CrisisResponse Sublimit of Insurance is the most we will pay for all CrisisResponse Costs under this
     policy, regardless of the number of Crisis Management Events first commencing during the Policy Period. This
     CrisisResponse Sublimit of Insurance will be part of, not in addition to, the applicable Limit of Insurance.

J. The Excess Casualty CrisisFund Limit of Insurance is the most we will pay for all Crisis Management Loss
   under this policy, regardless of the number of Crisis Management Events first commencing during the Policy
   Period. This Excess Casualty CrisisFund Limit of Insurance will be in addition to the applicable Limit of
   Insurance.

K. We will have no obligation to advance CrisisResponse Costs when we determine that a Crisis Management
   Event has ended or when the CrisisResponse Sublimit of Insurance has been exhausted, whichever occurs first.



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L. The Limits of Insurance of this policy apply separately to each consecutive annual period and to any remaining
   period of less than twelve (12) months, beginning with the inception date of the Policy Period shown in the
   Declarations, unless the Policy Period is extended after issuance for an additional period of less than twelve (12)
   months. In that case, the additional period will be deemed part of the last preceding period for purposes of
   determining the Limits of Insurance of this policy.

M. We will not make any payment under this policy unless and until:

   1. the total applicable limits of Scheduled Underlying Insurance have been exhausted by the payment of Loss
      to which this policy applies and any applicable, Other Insurance have been exhausted by the payment of
      Loss; or

   2. the total applicable Self-Insured Retention has been satisfied by the payment of Loss to which this policy
      applies.

   When the amount of Loss has been determined by an agreed settlement or a final judgment, we will promptly pay
   on behalf of the Insured the amount of such Loss falling within the terms of this policy. An agreed settlement
   means a settlement and release of liability signed by us, the Insured and the claimant or the claimant’s legal
   representative.

V. EXCLUSIONS

A. Aircraft and Watercraft

   This insurance does not apply to Bodily Injury or Property Damage arising out of the ownership, maintenance,
   use or entrustment to others of any aircraft or watercraft owned or operated by or rented or loaned to any Insured.
   Use includes operation and loading and unloading.

   This exclusion applies even if the claims against any Insured allege negligence or other wrongdoing in the
   supervision, hiring, employment, training or monitoring of others by that Insured, if the Occurrence which caused
   the Bodily Injury or Property Damage involved the ownership, maintenance, use or entrustment to others of any
   aircraft or watercraft that is owned or operated by or rented or loaned to any Insured.

   This exclusion does not apply to a watercraft you do not own that is:

   1. less than 26 feet long; and

   2. not being used to carry persons or property for a charge.

B. Asbestos

   This insurance does not apply to any liability arising out of:

   1. the manufacture of, mining of, use of, sale of, installation of, removal of, distribution of or exposure to asbestos,
      asbestos containing products or materials, asbestos fibers or asbestos dust;

   2. any obligation of the Insured to indemnify any party because of damages arising out of the manufacture of,
      mining of, use of, sale of, installation of, removal of, distribution of or exposure to asbestos, asbestos products,
      asbestos fibers or asbestos dust; or

   3. any obligation to defend any Suit or claim against the Insured that seeks damages if such Suit or claim arises
      as the result of the manufacture of, mining of, use of, sale of, installation of, removal of, distribution of or
      exposure to asbestos, asbestos products, asbestos fibers or asbestos dust.

C. Contractual Liability

   This insurance does not apply to any liability for which the Insured is obligated to pay damages by reason of the
   assumption of liability in a contract or agreement. This exclusion does not apply to liability for damages:


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   1. that the Insured would have in the absence of a contract or agreement; or

   2. assumed in an Insured Contract, provided Bodily Injury or Property Damage occurs subsequent to the
      execution of the Insured Contract. Solely for the purposes of liability assumed in an Insured Contract,
      reasonable attorney fees and necessary litigation expenses incurred by or for a party other than an Insured are
      deemed to be damages because of Bodily Injury or Property Damage and included in the Limits of Insurance
      of this policy, provided:

       a. liability to such party for, or for the cost of, that party's defense has also been assumed in the same
          Insured Contract; and

       b. such attorney fees and litigation expenses are for the defense of that party against a civil or alternative
          dispute resolution proceeding in which damages to which this policy applies are alleged.

D. Damage to Impaired Property or Property Not Physically Injured

   This insurance does not apply to Property Damage to Impaired Property or property that has not been physically
   injured, arising out of:

   1. a defect, deficiency, inadequacy or dangerous condition in Your Product or Your Work; or

   2. a delay or failure by you or anyone acting on your behalf to perform a contract or agreement in accordance with
      its terms.

   This exclusion does not apply to the loss of use of other property arising out of sudden and accidental physical
   injury to Your Product or Your Work after it has been put to its intended use.

E. Damage to Property

   This insurance does not apply to Property Damage to:

   1. property you own, rent, or occupy, including any costs or expenses incurred by you, or any other person,
      organization or entity, for repair, replacement, enhancement, restoration or maintenance of such property for
      any reason, including prevention of injury to a person or damage to another's property;

   2. premises you sell, give away or abandon, if the Property Damage arises out of any part of those premises;

   3. property loaned to you;

   4. personal property in the care, custody or control of the Insured;

   5. that particular part of real property on which you or any contractors or subcontractors working directly or
      indirectly on your behalf are performing operations, if the Property Damage arises out of those operations; or

   6. that particular part of any property that must be restored, repaired or replaced because Your Work was
      incorrectly performed on it.

   Paragraph 2. of this exclusion does not apply if the premises are Your Work and were never occupied, rented or
   held for rental by you.

   Paragraphs 3., 4., 5. and 6. of this exclusion do not apply to liability assumed under a sidetrack agreement.

   Paragraph 6. of this exclusion does not apply to Property Damage included in the Products-Completed
   Operations Hazard.

F. Damage to Your Product

   This insurance does not apply to Property Damage to Your Product arising out of it or any part of it.



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G. Damage to Your Work

     This insurance does not apply to Property Damage to Your Work arising out of it or any part of it and included in
     the Products-Completed Operations Hazard.

     This exclusion does not apply if the damaged work or the work out of which the damage arises was performed on
     your behalf by a subcontractor.

H. Electronic Chatrooms or Bulletin Boards and Electronic Data

     This insurance does not apply to Personal Injury and Advertising Injury arising out of an electronic chatroom or
     bulletin board the Insured hosts, owns, or over which the Insured exercises control. Additionally, this insurance
     does not apply to damages arising out of the loss of, loss of use of, damage to, corruption of, inability to access, or
     inability to manipulate electronic data.

     As used in this exclusion, "electronic data" means information, facts or programs stored as or on, created or used
     on, or transmitted to or from computer software, including systems and applications software, hard or floppy disks,
     CD-ROMS, tapes, drives, cells, data processing devices or any other media which are used with electronically
     controlled equipment.

I.   Employees and Volunteers

     This insurance does not apply to liability of any employee or volunteer qualifying as an Insured under this policy
     arising out of Bodily Injury, Property Damage or Personal Injury and Advertising Injury:

     1. to you, to your partners or members (if you are a partnership or joint venture), to your members (if you are a
        limited liability company), or to an employee of yours while in the course of his or her employment or performing
        duties related to the conduct of your business, or to another volunteer of yours while performing duties related
        to the conduct of your business;

     2. to the spouse, child, parent, brother or sister of such injured employee or volunteer as a consequence of
        subparagraph 1. above;

     3. for which there is any obligation to share damages with or repay someone else who must pay damages
        because of the injury described in subparagraphs 1. or 2. above; or

     4. arising out of his or her providing or failing to provide professional health care services.

     Paragraphs 1., 2. and 3. shall not apply to any liability arising out of Bodily Injury or Personal Injury and
     Advertising Injury if such coverage is provided by Scheduled Underlying Insurance. Coverage under this policy
     for Bodily Injury or Personal Injury and Advertising Injury will follow the terms, definitions, conditions and
     exclusions of Scheduled Underlying Insurance, subject to the Policy Period, Limits of Insurance, premium and
     all other terms, definitions, conditions and exclusions of this policy. Provided, however, that coverage provided by
     this policy will be no broader than the coverage provided by Scheduled Underlying Insurance.

J. Employment Practices

     This insurance does not apply to any liability arising out of:

     1. failure to hire any prospective employee or any applicant for employment;

     2. dismissal, discharge or termination of any employee;

     3. failure to promote or advance any employee; or

     4. employment-related practices, policies, acts, omissions or misrepresentations directed at a present, past, future
        or prospective employee, including, but not limited to:

         a. coercion, harassment, humiliation or discrimination;


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       b. demotion, evaluation, reassignment, discipline, or retaliation;
       c. libel, slander, humiliation, defamation, or invasion of privacy; or
       d. violation of civil rights.

   This exclusion applies:

   1. whether the Insured may be liable as an employer or in any other capacity; and

   2. to any obligation to share damages with or repay someone else who must pay damages because of the injury.

K. Expected or Intended Injury

   This insurance does not apply to Bodily Injury and Property Damage expected or intended from the standpoint of
   the Insured. However, this exclusion does not apply to Bodily Injury or Property Damage resulting from the use
   of reasonable force to protect persons or property.

L. Infringement of Copyright, Patent, Trademark or Trade Secret

   This insurance does not apply to Personal Injury and Advertising Injury arising out of the infringement of
   copyright, patent, trademark, trade secret or other intellectual property rights.

   However, this exclusion does not apply to infringement, in your Advertisement, of copyright, trade dress or slogan.

M. Liquor Liability

   This insurance does not apply to Bodily Injury or Property Damage for which any Insured may be held liable by
   reason of:

   1. causing or contributing to the intoxication of any person;

   2. the furnishing of alcoholic beverages to a person under the legal drinking age or under the influence of alcohol;
      or

   3. any statute, ordinance or regulation relating to the sale, gift, distribution or use of alcoholic beverages.

   However, this exclusion will not apply if coverage is provided for such Bodily Injury or Property Damage by
   Scheduled Underlying Insurance.

   Coverage under this policy for such Bodily Injury or Property Damage will follow the terms, definitions, conditions
   and exclusions of Scheduled Underlying Insurance, subject to the Policy Period, Limits of Insurance, premium
   and all other terms, definitions, conditions and exclusions of this policy. Provided, however, that coverage provided
   by this policy will be no broader than the coverage provided by Scheduled Underlying Insurance.

N. Media and Internet Type Businesses

   This insurance does not apply to Personal Injury and Advertising Injury committed by any Insured whose
   business is:

   1. advertising, broadcasting, publishing or telecasting;

   2. designing or determining content of web-sites for others; or

   3. an Internet search, access, content or service provider.

   However, this exclusion does not apply to Paragraphs U1., U2. and U3. of Section VII.

   For the purposes of this exclusion, the placing of frames, borders or links, or advertising, for you or others anywhere
   on the Internet, is not by itself, considered the business of advertising, broadcasting, publishing or telecasting.




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O. "No-Fault, " "Uninsured Motorist" or "Underinsured Motorist" Laws

   This insurance does not apply to any obligation of the Insured under any "No-Fault," "Uninsured Motorist" or
   "Underinsured Motorist" law, or any similar law.

P. Nuclear Liability

   This insurance does not apply to:

   1. any liability:

       a. with respect to which the Insured is also an Insured under a nuclear energy liability policy issued by the
          Nuclear Energy Liability-Property Insurance Association, Mutual Atomic Energy Liability Underwriters or the
          Nuclear Insurance Association of Canada, or would be an Insured under any such policy but for its
          termination upon exhaustion of its limit of liability;

       b. resulting from the hazardous properties of nuclear material and with respect to which (1) any person or any
          organization is required to maintain financial protection pursuant to the Atomic Energy Act of 1954, or any
          amendment or revision thereto, or any similar law; (2) the Insured is, or had this policy not been available
          would be, entitled to indemnity from the United States of America or any agency thereof under any
          agreement entered into by the United States of America or an agency thereof with any person or
          organization;

       c. for Bodily Injury or Property Damage resulting from the hazardous properties of nuclear material if:

            i)    the nuclear material (1) is at any nuclear facility owned by the Insured or operated by the Insured or
                  on the Insured's behalf or (2) has been discharged or dispensed therefrom;

            ii)   the nuclear material is contained in spent fuel or waste at any time possessed, handled, used,
                  processed, stored, transported or disposed of by the Insured or on the Insured's behalf; or

            iii) the Bodily Injury or Property Damage arises out of the furnishing by the Insured of services,
                 materials, parts or equipment in connection with the planning, construction, maintenance, operation or
                 use of any nuclear facility, but if such facility is located within the United States of America, its territories
                 or possessions or Canada, this exclusion c. applies only to Property Damage to such nuclear facility
                 and any property thereat.

   2. As used in this exclusion:

       a. "hazardous properties" includes radioactive, toxic or explosive properties;

       b. "nuclear material" means source material, special nuclear material or by-product material;

       c. "source material," "special nuclear material" and "by-product material" have the meanings given them in
          the Atomic Energy Act of 1954 or any amendment or revision thereto ;

       d. "spent fuel" means any fuel element or fuel component, solid or liquid, which has been used or exposed to
          radiation in a nuclear reactor;

       e. "waste" means any waste material (1) containing by-product material and (2) resulting from the operation by
          any person or organization of a nuclear facility included within the definition of nuclear facility below;

       f.   "nuclear facility" means:

            i)    any nuclear reactor;

            ii)   any equipment or device designed or used for (1) separating the isotopes of uranium or plutonium, (2)
                  processing or utilizing spent fuel or (3) handling, processing or packaging wastes;



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           iii) any equipment or device used for the processing, fabricating or alloying of special nuclear material if at
                any time the total amount of such material in the Insured's custody at the premises where such
                equipment or device is located consists of or contains more than 25 grams of plutonium or uranium 233
                or any combination thereof, or more than 250 grams of uranium 235; or

           iv) any structure, basin, excavation, premises or place prepared or used for storage or disposal of waste,
               and

           includes the site on which any of the foregoing is located, all operations conducted on such site and all
           premises used for such operations;

       g. "nuclear reactor" means any apparatus designed or used to sustain nuclear fission in a self-supporting
          chain reaction or to contain a critical mass of fissionable material;

       h. Property Damage includes all forms of radioactive contamination of property.

Q. Pollution

   This insurance does not apply to:

   1. Any Bodily Injury, Property Damage or Personal Injury and Advertising Injury arising out of the actual,
       alleged or threatened discharge, dispersal, seepage, migration, release or escape of Pollutants anywhere at
       any time;

   2. Any loss, cost or expense arising out of any request, demand, order or statutory or regulatory requirement that
       the Insured or others test for, monitor, clean up, remove, contain, treat, detoxify or neutralize, or in any way
       respond to, or assess the effects of Pollutants; or

   3. Any loss, cost or expense arising out of any claim or Suit by or on behalf of a governmental authority for
       damages because of testing for, monitoring, cleaning up, removing, containing, treating, detoxifying or
       neutralizing or in any way responding to, or assessing the effects of Pollutants.

   However, Paragraph 1 of this exclusion will not apply if coverage for such Bodily Injury or Property Damage as
   is described in subparagraphs 1) through 6) below is provided by Scheduled Underlying Insurance:

       1) Products-Completed Operations Hazard

           Paragraph 1. of this exclusion does not apply with respect to Bodily Injury or Property Damage included
           within the Products-Completed Operations Hazard provided that Your Product or Your Work has not at
           any time been:

           a) discarded, dumped, abandoned, thrown away; or

           b) transported, handled, stored, treated, disposed of or processed as waste;

           by anyone.

       2) Hostile Fire

           Paragraph 1. of this exclusion does not apply with respect to Bodily Injury or Property Damage arising
           out of heat, smoke or fumes from a Hostile Fire.

       3) Equipment to Cool, Dehumidify, or Heat the Building and Contractor/Lessee Operations

           Paragraph 1. of this exclusion does not apply to:

           a)    Bodily Injury sustained within a building and caused by smoke, fumes, vapor or soot produced by or
                originating from equipment that is used to heat, cool or dehumidify the building, or equipment used to
                heat water for personal use, by the building's occupants or their guests;



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           b) Bodily Injury or Property Damage for which you may be held liable if you are a contractor and the
              owner or lessee of such premises, site or location has been added to your policy as an additional
              Insured with respect to your ongoing operations performed for that additional Insured at such
              premises, site or location, and such premises, site or location is not and never was owned or occupied
              by, or rented or loaned to, any Insured, other than the additional Insured.

       4) Fuels, Lubricants and Other Operating Fluids - Mobile Equipment

           Paragraph 1. of this exclusion does not apply to:

           a) Bodily Injury or Property Damage arising out of the escape of fuels, lubricants or other operating
              fluids that are needed to perform normal electrical, hydraulic or mechanical functions necessary for the
              operation of Mobile Equipment or its parts if such fuels, lubricants or other operating fluids escape
              from a vehicle part designed to hold, store or receive them. This exception does not apply if the Bodily
              Injury or Property Damage arises out of the intentional discharge, dispersal or release of the fuels,
              lubricants or other operating fluids, or if such fuels, lubricants or other operating fluids are brought on or
              to the premises, site or location with the intent that they be discharged, dispersed or released as part of
              the operations being performed by such insured contractor or subcontractor; or

           b) Bodily Injury or Property Damage sustained within a building and caused by the release of gases,
              fumes or vapors from materials brought into that building in connection with operations being performed
              by you or on your behalf by a contractor or subcontractor.

       5) Fuels, Lubricants, Fluids, etc. - Auto

           Paragraph 1. of this exclusion does not apply to fuels, lubricants, fluids, exhaust gases or other similar
           Pollutants that are needed for or result from the normal electrical, hydraulic or mechanical functioning of an
           Auto covered by Scheduled Underlying Insurance or its parts, if:

           a) the Pollutants escape, seep, migrate, or are discharged, dispersed or released directly from an Auto
              part designed by its manufacturer to hold, store, receive or dispose of such Pollutants; and

           b) the Bodily Injury or Property Damage does not arise out of the operation of any equipment shown in
              Paragraphs 6b and 6c of the definition of Mobile Equipment.

       6) Upset, Overturn or Damage of an Auto

           Paragraph 1. of this exclusion does not apply to Occurrences that take place away from premises owned
           by or rented to an Insured with respect to Pollutants not in or upon an Auto covered by Scheduled
           Underlying Insurance if:

           a) the Pollutants or any property in which the Pollutants are contained are upset, overturned or damaged
              as a result of the maintenance or use of an Auto covered by Scheduled Underlying Insurance; and

           b) the discharge, dispersal, seepage, migration, release or escape of the Pollutants is caused directly by
              such upset, overturn or damage.

   Coverage under this policy for such Bodily Injury or Property Damage as is described in subparagraphs 1)
   through 6) above will follow the terms, definitions, conditions and exclusions of Scheduled Underlying Insurance,
   subject to the Policy Period, Limits of Insurance, premium and all other terms, definitions, conditions and
   exclusions of this policy. Provided, however, that coverage provided by this policy will be no broader than the
   coverage provided by Scheduled Underlying Insurance.

R. Recall of Your Product, Your Work or Impaired Property

   This insurance does not apply to damages claimed for any loss, cost or expense incurred by you or others for the
   loss of use, withdrawal, recall, inspection, repair, replacement, adjustment, removal or disposal of:




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   1. Your Product;

   2. Your Work; or

   3. Impaired Property;

   if such product, work or property is withdrawn or recalled from the market or from use by any person or organization
   because of a known or suspected defect, deficiency, inadequacy or dangerous condition in it.

S. Securities

   This insurance does not apply to any liability arising out of:

   1. any violation of any securities law or similar law or any regulation promulgated thereunder;

   2. the purchase, sale, offer of sale or solicitation of any security, debt, insurance policy, bank deposit or financial
      interest or instrument;

   3. any representations made at any time in relation to the price or value of any security, debt, insurance policy,
      bank deposit or financial interest or instrument; or

   4. any depreciation or decline in price or value of any security, debt, insurance policy, bank deposit or financial
      interest or instrument.

T. Unauthorized Use of Another's Name or Product

   This insurance does not apply to Personal Injury and Advertising Injury arising out of the unauthorized use of
   another's name or product in your e-mail address, domain name or metatag, or any other similar tactics to mislead
   another's potential customers.

U. Various Personal Injury and Advertising Injury

   This insurance does not apply to Personal Injury and Advertising Injury:

   1. caused by or at the direction of the Insured with the knowledge that the act would violate the rights of another
      and would inflict Personal Injury and Advertising Injury;

   2. arising out of oral, written or electronic publication, in any manner, of material if done by or at the direction of
      any Insured with knowledge of its falsity;

   3. arising out of oral, written or electronic publication, in any manner, of material whose first publication took place
      before the beginning of the Policy Period;

   4. arising out of a criminal act committed by or at the direction of the Insured;

   5. for which the Insured has assumed liability in a contract or agreement. This exclusion does not apply to liability
      for damages that the Insured would have in the absence of the contract or agreement;

   6. arising out of a breach of contract, except an implied contract to use another's advertising idea in your
      Advertisement;

   7. arising out of the failure of goods, products or services to conform with any statement of quality or performance
      made in your Advertisement; or

   8. arising out of the wrong description of the price of goods, products or services stated in your Advertisement.

V. Various Laws

   This insurance does not apply to any obligation of the Insured under any of the following:



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   1. the Employee Retirement Income Security Act of 1974 (including amendments relating to the Consolidated
      Omnibus Budget Reconciliation Act of 1985), or any amendment or revision thereto, or any similar law; or

   2. any workers' compensation, disability benefits or unemployment compensation law, or any similar law.

W. Violation of Communication or Information Law

   This insurance does not apply to any liability arising out of any act that violates any statute, ordinance or regulation
   of any federal, state or local government, including any amendment of or addition to such laws, that prohibits or
   limits the sending, transmitting or communicating of material or information.

X. War

   This insurance does not apply to Loss, costs, injury, damage, claim, dispute and/or or suit arising therefrom,
   caused directly or indirectly, in whole or in part, as a result of or in connection with war, whether declared or not, or
   any act or condition incident to war. War includes:

   1. Civil war; or

   2. Armed conflict between two or more nations, armed conflict between military forces of any origin, or warlike
      action by a military force, including action in hindering or defending against an actual or expected attack, by any
      government, sovereign or other authority using military personnel or other agents; or

   3. Insurrection, rebellion, revolution, usurped power, or action taken by governmental authority in hindering or
      defending against any of these.

VI. CONDITIONS

A. Appeals

   If the Insured or the Insured's underlying insurers do not appeal a judgment in excess of the total applicable limits
   of Scheduled Underlying Insurance, we may elect to do so. If we appeal, we will be liable for, in addition to the
   applicable Limits of Insurance of this policy, all court costs, expenses incurred and interest on that amount of any
   judgment which does not exceed the applicable Limits of Insurance of this policy incidental to such an appeal.

B. Audit

   We may audit and examine your books and records as they relate to this policy at any time during the period of this
   policy and for up to three (3) years after the expiration or termination of this policy.

C. Bankruptcy or Insolvency

   Your bankruptcy, insolvency or inability to pay or the bankruptcy, insolvency or inability to pay of any of your
   underlying insurers will not relieve us from the payment of Loss covered by this policy. But under no
   circumstances will such bankruptcy, insolvency or inability to pay require us to drop down, replace or assume any
   obligation under Scheduled Underlying Insurance.

D. Cancellation

   1. You may cancel this policy. You must mail or deliver advance written notice to us stating when the cancellation
      is to take effect.

   2. We may cancel this policy. If we cancel because of non-payment of premium, we must mail or deliver to you
      not less than ten (10) days advance written notice stating when the cancellation is to take effect. If we cancel
      for any other reason, we must mail or deliver to you not less than ninety (90) days advance written notice
      stating when the cancellation is to take effect. Mailing that notice to you at your mailing address shown in Item
      1 of the Declarations will be sufficient to prove notice.




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   3. The Policy Period will end on the day and hour stated in the cancellation notice.

   4. If we cancel, final premium will be calculated pro rata based on the time this policy was in force. Final Premium
      will not be less than the pro rata share of the Minimum Premium shown in Item 6. of the Declarations.

   5. If you cancel, final premium will be more than pro rata; it will be based on the time this policy was in force and
      increased by our short rate cancellation table and procedure. Final premium will not be less than the short rate
      share of the Minimum Premium shown in Item 6 of the Declarations.

   6. Premium adjustment may be made at the time of cancellation or as soon as practicable thereafter, but the
      cancellation will be effective even if we have not made or offered any refund of unearned premium. Our check
      or our representative's check, mailed or delivered, will be sufficient tender of any refund due you.

   7. The first Named Insured in Item 1. of the Declarations will act on behalf of all other Insureds with respect to
      the giving and receiving of notice of cancellation and the receipt of any refund that may become payable under
      this policy.

   8. Any of these provisions that conflict with a law that controls the cancellation of the insurance in this policy is
      changed by this statement to comply with that law.

E. Change In Control

   If during the Policy Period:

   1. the first Named Insured designated in Item 1. of the Declarations consolidates with or merges into, or sells all
      or substantially all of its assets to any person or entity; or

   2. any person or entity acquires an amount of the outstanding ownership interests representing more than 50% of
      the voting or designation power for the election of directors of the first Named Insured designated in Item 1. of
      the Declarations, or acquires the voting or designation rights of such an amount of ownership interests;

   this policy will continue in full force and effect as to Bodily Injury and Property Damage that occur prior to the
   effective date of such transaction and Personal Injury and Advertising Injury caused by an Occurrence that
   takes place prior to the effective date of such transaction.

   Coverage will be afforded by this policy for Bodily Injury or Property Damage that occurs on or after the effective
   date of such transaction and Personal Injury and Advertising Injury caused by an Occurrence that takes place
   on or after the effective date of such transaction if the Named Insured notifies us of the transaction no later than
   ninety (90) days after the effective date of the transaction.

   If the Named Insured fails to notify us within ninety (90) days of the effective date of such transaction coverage
   afforded by this policy will cease on the ninetieth (90th) day after the effective date of such transaction at 12:01 am
   standard time of the address of the Named Insured shown in Item 1. of the Declarations or the end of the Policy
   Period, whichever is earlier.

   The provisions of paragraph E. shall only apply to transactions with third parties not under control or ownership of
   the Named Insured on the inception date of this policy.

F. Changes

   Notice to any agent or knowledge possessed by any agent or any other person will not effect a waiver or change in
   any part of this policy. This policy can be changed only by a written endorsement that we make to this policy.

G. Duties in the Event of an Occurrence, Claim or Suit

   1. You must see to it that we are notified as soon as practicable of an Occurrence that may result in a claim or
      Suit under this policy. To the extent possible, notice should include:




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         a. how, when and where the Occurrence took place;

         b. the names and addresses of any injured persons and any witnesses; and

         c. the nature and location of any injury or damage arising out of the Occurrence.

     2. If a claim is made or Suit is brought against any Insured which is reasonably likely to involve this policy, you
        must notify us in writing as soon as practicable.

         Written notice should be mailed, delivered, faxed or emailed to:

                  Chartis Domestic Claims, Inc.
                  Excess Casualty Claims Department
                  Segmentation Unit
                  175 Water Street, 22nd Floor
                  New York, NY 10038
                  Fax: (866) 743-4376
                  Email: excessfnol@chartisinsurance.com

     3. You and any other involved Insured must:

         a. immediately send us copies of any demands, notices, summonses or legal papers received in connection
            with the claim or Suit;

         b. authorize us to obtain records and other information;

         c. cooperate with us in the investigation, settlement or defense of the claim or Suit; and

         d. assist us, upon our request, in the enforcement of any right against any person or organization that may be
            liable to the Insured because of injury or damage to which this insurance may also apply.

     4. No Insured will, except at that Insured's own cost, voluntarily make a payment, assume any obligation or incur
        any expense, other than for first aid, without our consent.

H. Headings

     The descriptions in the headings of this policy are solely for convenience and form no part of the terms and
     conditions of coverage.

I.   Inspection

     We have the right, but are not obligated, to inspect your premises and operations at any time. Our inspections are
     not safety inspections. They relate only to the insurability of your premises and operations and the premiums to be
     charged. We may give you reports on the conditions that we find. We may also recommend changes. We do not,
     however, undertake to perform the duty of any person or organization to provide for the health or safety of your
     employees or the public. We do not warrant the health and safety conditions of your premises or operations or
     represent that your premises or operations comply with laws, regulations, codes or standards.

J. Legal Actions Against Us

     No person or organization has a right under this policy:

     1. to join us as a party or otherwise bring us into a Suit asking for damages from an Insured; or

     2. to sue us under this policy unless all of its terms have been fully complied with.

     A person or organization may sue us to recover on an agreed settlement or on a final judgment against an Insured;




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     but we will not be liable for damages that are not payable under this policy or that are in excess of the applicable
     Limits of Insurance of this policy. An agreed settlement means a settlement and release of liability signed by us, the
     Insured and the claimant or the claimant's legal representative.

K. Maintenance of Scheduled Underlying Insurance

     You agree that during the Policy Period:

     1. you will keep Scheduled Underlying Insurance in full force and effect;

     2. the terms, definitions, conditions and exclusions of Scheduled Underlying Insurance will not materially
        change;

     3. the total applicable limits of Scheduled Underlying Insurance will not decrease, except for any reduction or
        exhaustion of aggregate limits by payment of Loss to which this policy applies; and

     4. any renewals or replacements of Scheduled Underlying Insurance will provide equivalent coverage to and
        afford limits of insurance equal to or greater than the policy being renewed or replaced.

     If you fail to comply with these requirements, we will be liable only to the same extent that we would have, had you
     fully complied with these requirements.

L. Other Insurance

     If other valid and collectible insurance applies to damages that are also covered by this policy, this policy will apply
     excess of the Other Insurance. However, this provision will not apply if the Other Insurance is specifically written
     to be excess of this policy.

M. Premium

     The first Named Insured designated in Item 1. of the Declarations will be responsible for payment of all premiums
     when due.

     The premium for this policy will be computed on the basis set forth in Item 6. of the Declarations. At the beginning
     of the Policy Period, you must pay us the Advance Premium shown in Item 6. of the Declarations.

     When this policy expires or if it is cancelled, we will compute the earned premium for the time this policy was in
     force. If this policy is subject to audit adjustment, the actual exposure base will be used to compute the earned
     premium. If the earned premium is greater than the Advance Premium, you will promptly pay us the difference. If
     the earned premium is less than the Advance Premium, we will return the difference to you. But in any event, we
     will retain the Minimum Premium as shown in Item 6. of the Declarations for each twelve months of the Policy
     Period.

N. Separation of Insureds

     Except with respect to the Limits of Insurance of this policy and rights or duties specifically assigned to the first
     Named Insured designated in Item 1. of the Declarations, this insurance applies:

     1. as if each Named Insured were the only Named Insured; and

     2. separately to each Insured against whom claim is made or Suit is brought.

O.    Service Of Suit

     In the event of our failure to pay any amount claimed to be due hereunder, we, at the Insured's request, will submit
     to the jurisdiction of a count of competent jurisdiction within the United States. Nothing in this condition constitutes
     or should be understood to constitute a waiver of our rights to commence an action in any court of competent
     jurisdiction in the United States, to remove an action to a United States District Court, or to seek a transfer of a



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   case to another court as permitted by the laws of the United States or of any state in the United States. It is further
   agreed that service of process in such suit may be made upon Counsel, Legal Department, Chartis Specialty
   Insurance Company, 175 Water Street, New York, NY 10038, or his or her representative, and that in any suit
   instituted against us upon this contract, we will abide by the final decision of such court or of any appellate court in
   the event of any appeal.

   Further, pursuant to any statute of any state, territory, or district of the United States which makes provision
   therefor, we hereby designate the Superintendent, Commissioner, or Director of Insurance, other officer specified
   for that purpose in the statute, or his or her successor or successors in office as our true and lawful attorney upon
   whom may be served any lawful process in any action, suit, or proceeding instituted by or on behalf of the Insured
   or any beneficiary hereunder arising out of this contract of insurance, and hereby designate the above named
   Counsel as the person to whom the said officer is authorized to mail such process or a true copy thereof.

P. Transfer of Rights of Recovery

   1. If any Insured has rights to recover all or part of any payment we have made under this policy, those rights are
      transferred to us. The Insured must do nothing after loss to impair these rights and must help us enforce
      them.

   2. Any recoveries will be applied as follows:

       a. any person or organization, including the Insured, that has paid an amount in excess of the applicable
          Limits of Insurance of this policy will be reimbursed first;

       b. we then will be reimbursed up to the amount we have paid; and

       c. lastly, any person or organization, including the Insured that has paid an amount over which this policy is
           excess is entitled to claim the remainder.

       Expenses incurred in the exercise of rights of recovery will be apportioned among the persons or organizations,
       including the Insured, in the ratio of their respective recoveries as finally settled.

   3. If, prior to the time of an Occurrence, you waive any right of recovery against a specific person or organization
      for injury or damage as required under an Insured Contract, we will also waive any rights we may have against
      such person or organization

Q. Transfer of Your Rights and Duties

   Your rights and duties under this policy may not be transferred without our written consent.

   If you die or are legally declared bankrupt, your rights and duties will be transferred to your legal representative, but
   only while acting within the scope of duties as your legal representative. However, notice of cancellation sent to the
   first Named Insured designated in Item 1 of the Declarations and mailed to the address shown in this policy will be
   sufficient notice to effect cancellation of this policy.

R. Unintentional Failure to Disclose

   Your failure to disclose all hazards existing as of the inception date of the policy will not prejudice you with respect
   to the coverage afforded by this policy, provided that any such failure or omission is not intentional.

S. Violation of Economic or Trade Sanctions

   If coverage for a claim or Suit under this Policy is in violation of any United States of America economic or trade
   sanctions, including but not limited to, sanctions administered and enforced by the United States Treasury
   Department's Office of Foreign Assets Control ("OFAC"), then coverage for that claim or Suit will be null and void.

VII. DEFINITIONS




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A. Advertisement means a notice that is broadcast or published to the general public or specific market segments
   about your goods, products or services for the purpose of attracting customers or supporters. For the purposes of
   this definition:

   1. notices that are published include material placed on the Internet or on similar electronic means of
      communication; and

   2. regarding web-sites, only that part of a web-site that is about your goods, products or services for the purposes
      of attracting customers or supporters is considered an advertisement.

B. Auto means:

   1. a land motor vehicle, trailer or semitrailer designed for travel on public roads, including any attached machinery
      or equipment; or

   2. any other land vehicle that is subject to a compulsory or financial responsibility law in the state where it is
      licensed or principally garaged.

   However, Auto does not include Mobile Equipment.

C. Bodily Injury means bodily injury, sickness or disease sustained by any person, including death, mental anguish,
   mental injury, shock or humiliation resulting from any of these at any time.

D. Crisis Management Event means an Occurrence that in the good faith opinion of a Key Executive of the
   Named Insured, in the absence of Crisis Management Services, has or may result in:

   1. damages covered by this policy that are in excess of the total applicable limits of Scheduled Underlying
      Insurance or the Self-Insured Retention; and

   2. significant adverse regional or national media coverage.

   Crisis Management Event will include, without limitation, man-made disasters such as explosions, major crashes,
   multiple deaths, burns, dismemberment, traumatic brain injury, permanent paralysis, or contamination of food, drink
   or pharmaceuticals, provided that any damages arising out of any of the aforementioned must be covered under this
   policy.

E. Crisis Management Firm means any firm that is shown in Schedule A, Approved Crisis Management Firms
   attached to and forming part of this policy, which is hired by you to perform Crisis Management Services in
   connection with a Crisis Management Event.

F. Crisis Management Loss means the following amounts incurred during a Crisis Management Event:

   1. amounts for the reasonable and necessary fees and expenses incurred by a Crisis Management Firm in the
      performance of Crisis Management Services for the Named Insured solely arising from a covered Crisis
      Management Event; and

   2. amounts for reasonable and necessary printing, advertising, mailing of materials, or travel by directors, officers,
      employees or agents of the Named Insured or a Crisis Management Firm incurred at the direction of a Crisis
      Management Firm, solely arising from a covered Crisis Management Event.

G. Crisis Management Services means those services performed by a Crisis Management Firm in advising the
   Named Insured on minimizing potential harm to the Named Insured from a covered Crisis Management Event
   by maintaining and restoring public confidence in the Named Insured.

H. CrisisResponse Costs means the following reasonable and necessary expenses incurred during a Crisis
   Management Event directly caused by a Crisis Management Event, provided that such expenses have been
   pre-approved by us and may be associated with damages that would be covered by this policy:




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     1. medical expenses;

     2. funeral expenses;

     3. psychological counseling;

     4. travel expenses;

     5. temporary living expenses;

     6. expenses to secure the scene of a Crisis Management Event; and

     7. any other expenses pre-approved by the Company.

     CrisisResponse Costs does not include defense costs or Crisis Management Loss.

I.   CrisisResponse Sublimit of Insurance means the CrisisResponse Sublimit of Insurance shown in Item 3D. of the
     Declarations.

J. Excess Casualty CrisisFund Limit of Insurance means the Excess Casualty CrisisFund Limit of Insurance shown
   in Item 3E of the Declarations.

K. Hostile Fire means a fire that becomes uncontrollable or breaks out from where it was intended to be.

L. Impaired Property means tangible property, other than Your Product or Your Work, that cannot be used or is less
   useful because:

     1. it incorporates Your Product or Your Work that is known or thought to be defective, deficient, inadequate or
        dangerous; or

     2. you have failed to fulfill the terms of a contract or agreement;

     if such property can be restored to use by:

     1. the repair, replacement, adjustment or removal of Your Product or Your Work; or

     2. your fulfilling the terms of the contract or agreement.

M. Insured means:

     1. the Named Insured;

     2. if you are designated in the declarations as:

         a. an individual, you and your spouse are insureds, but only with respect to the conduct of a business of which
            you are the sole owner;

         b. a partnership or joint venture, you are an insured. Your members, your partners, and their spouses are also
            insureds, but only with respect to the conduct of your business.

         c. a limited liability company, you are an insured. Your members are also insureds, but only with respect to
            the conduct of your business. Your managers are insureds, but only with respect to their duties as your
            managers;

         d. an organization other than a partnership, joint venture or limited liability company, you are an insured. Your
            executive officers and directors are insureds, but only with respect to their duties as your officers or
            directors. Your stockholders are also insureds, but only with respect to their liability as stockholders;


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       e. a trust, you are an insured.      Your trustees are also insureds, but only with respect to their duties as
          trustees;

   3. your employees other than your executive officers (if you are an organization other than a partnership, joint
      venture or limited liability company) or your managers (if you are a limited liability company), but only for acts
      within the scope of their employment by you or while performing duties related to the conduct of your business;

   4. your volunteer workers only while performing duties related to the conduct of your business;

   5. any person (other than your employee or volunteer worker) or organization while acting as your real estate
      manager;

   6. your legal representative if you die, but only with respect to duties as such. That representative will have all
      your rights and duties under this policy;

   7. any person or organization, other than the Named Insured, included as an additional insured under Scheduled
      Underlying Insurance, but not for broader coverage than would be afforded by such Scheduled Underlying
      Insurance.

   Notwithstanding any of the above:

   a. no person or organization is an Insured with respect to the conduct of any current, past or newly formed
      partnership, joint venture or limited liability company that is not designated as a Named Insured in Item 1 of the
      Declarations; and

   b. no person or organization is an Insured under this policy who is not an Insured under applicable Scheduled
      Underlying Insurance. This provision shall not apply to any organization set forth in the definition of Named
      Insured in Paragraph R. 2 and 3.

N. Insured Contract means that part of any contract or agreement pertaining to your business under which any
   Insured assumes the tort liability of another party to pay for Bodily Injury or Property Damage to a third person
   or organization. Tort liability means a liability that would be imposed by law in the absence of any contract or
   agreement.

   Insured Contract does not include that part of any contract or agreement:

   1. that indemnifies a railroad for Bodily Injury or Property Damage arising out of construction or demolition
      operations, within 50 feet of any railroad property and affecting any railroad bridge or trestle, tracks, road-beds,
      tunnel, underpass or crossing;

   2. that indemnifies an architect, engineer or surveyor for injury or damage arising out of:

       a. preparing, approving, or failing to prepare or approve, maps, shop drawings, opinions, reports, surveys, field
          orders, change orders or drawings and specifications; or

       b. giving directions or instructions, or failing to give them, if that is the primary cause of the injury or damage;
          or

   3. under which the Insured, if an architect, engineer or surveyor, assumes liability for an injury or damage arising
      out of the Insured's rendering or failure to render professional services, including those shown in subparagraph
      2. above and supervisory, inspection, architectural or engineering activities.

O. Key Executive means the Chief Executive Officer, Chief Operating Officer, Chief Financial Officer, President,
   General Counsel or general partner (if the Named Insured is a partnership) of the Named Insured or sole
   proprietor (if the Named Insured is a sole proprietorship). A Key Executive also means any other person holding
   a title designated by you and approved by us, which title is shown in Schedule B, Additional Key Executives
   attached to and forming part of this policy.




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P. Loss means those sums actually paid as judgments or settlements, provided, however, that if expenses incurred to
   defend a Suit or to investigate a claim reduce the applicable limits of Scheduled Underlying Insurance, then
   Loss shall include such expenses.

Q. Mobile Equipment means any of the following types of land vehicles, including any attached machinery or
   equipment:

   1. bulldozers, farm machinery, forklifts and other vehicles designed for use principally off public roads;

   2. vehicles maintained for use solely on or next to premises you own or rent;

   3. vehicles that travel on crawler treads;

   4. vehicles, whether self-propelled or not, maintained primarily to provide mobility to permanently mounted:

       a. power cranes, shovels, loaders, diggers or drills; or

       b. road construction or resurfacing equipment such as graders, scrapers or rollers;

   5. vehicles not described in Paragraph 1., 2., 3. or 4. above that are not self-propelled and are maintained primarily
      to provide mobility to permanently attached equipment of the following types:

       a. air compressors, pumps and generators, including spraying, welding, building cleaning, geophysical
          exploration, lighting and well servicing equipment; or

       b. cherry pickers and similar devices used to raise or lower workers;

   6. vehicles not described in Paragraph 1., 2., 3. or 4. above maintained primarily for purposes other than the
      transportation of persons or cargo.

       However, self-propelled vehicles with the following types of permanently attached equipment are not Mobile
       Equipment, but will be considered Autos:

       a. equipment designed primarily for:

           i)    snow removal;

           ii)   road maintenance, but not construction or resurfacing; or

           iii) street cleaning;

       b. cherry pickers and similar devices mounted on automobile or truck chassis and used to raise or lower
          workers; and

       c. air compressors, pumps and generators, including spraying, welding, building cleaning, geophysical
          exploration, lighting and well servicing equipment.

       However, Mobile Equipment does not include any land vehicle that is subject to a compulsory or financial
       responsibility law or other motor vehicle insurance law in the state where it is licensed or principally garaged.
       Land vehicles subject to a compulsory or financial responsibility law are considered Autos.

R. Named Insured means:

   1. any person or organization designated in Item 1. of the Declarations;

   2. as of the inception date of this policy, any organization, except for a partnership, joint venture or limited liability
      company, in which you maintain an interest of more than fifty percent (50%) as of the effective date of this
      policy, provided that coverage provided to such organization under this paragraph does not apply to any Bodily




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       Injury or Property Damage that occurred or any Personal Injury and Advertising Injury that was caused by
       an Occurrence that was committed before you acquired or formed such organization or after you ceased to
       maintain an interest of more than fifty percent (50%) in such organization; and

   3. after the inception date of this policy, any organization, except for a partnership, joint venture or limited liability
      company, that you acquire or form during the Policy Period in which you maintain an interest of more than fifty
      percent (50%), provided that:

       a. coverage provided to such organization under this paragraph does not apply to any Bodily Injury or
          Property Damage that occurred or any Personal Injury and Advertising Injury that was caused by an
          Occurrence that was committed before you acquired or formed such organization or after you ceased to
          maintain an interest of more than fifty percent (50%) in such organization; and

       b. you give us prompt notice after you acquire or form such organization.

       Subject to the provisions of Paragraphs 3a. and 3b. above, a partnership, joint venture or limited liability
       company that you acquire or form during the Policy Period may be added as an Insured only by a written
       endorsement that we make a part of this policy.

       We may, at our option, make an additional premium charge for any organization that you acquire or form during
       the Policy Period.

   You agree that any organization to which paragraphs 2. and 3. above apply, will be required to be included as an
   Insured under applicable Scheduled Underlying Insurance. If you fail to comply with this requirement, coverage
   under this policy will apply as though the organization was included as an Insured, under the highest applicable limit
   of Scheduled Underlying Insurance.

S. Occurrence means:

   1. as respects Bodily Injury or Property Damage, an accident, including continuous or repeated exposure to
      substantially the same general harmful conditions. All such exposure to substantially the same general harmful
      conditions will be deemed to arise out of one Occurrence.

   2. as respects Personal Injury and Advertising Injury, an offense arising out of your business that causes
      Personal Injury and Advertising Injury. All damages that arise from the same, related or repeated injurious
      material or act will be deemed to arise out of one Occurrence, regardless of the frequency or repetition thereof,
      the number and kind of media used and the number of claimants.

T. Other Insurance means a valid and collectible policy of insurance providing coverage for damages covered in
   whole or in part by this policy.

   However, Other Insurance does not include Scheduled Underlying Insurance, the Self-Insured Retention or
   any policy of insurance specifically purchased to be excess of this policy affording coverage that this policy also
   affords.

U. Personal Injury and Advertising Injury means injury arising out of your business, including consequential Bodily
   Injury, arising out of one or more of the following offenses:

   1. false arrest, detention or imprisonment;

   2. malicious prosecution;

   3. the wrongful eviction from, wrongful entry into, or invasion of the right of private occupancy of a room, dwelling
      or premises that a person occupies committed by or on behalf of its owner, landlord or lessor;

   4. oral or written publication, in any manner, of material that slanders or libels a person or organization, or
      disparages a person's or organization's goods, products or services;




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     5. oral or written publication, in any manner, of material that violates a person's right of privacy;

     6. the use of another's advertising idea in your Advertisement; or

     7. infringement upon another's copyright, trade dress or slogan in your Advertisement.

V. Policy Period means the period of time from the inception date shown in Item 2. of the Declarations to the earlier
   of the expiration date shown in Item 2. of the Declarations or the effective date of termination of this policy.

W. Pollutants means any solid, liquid, gaseous or thermal irritant or contaminant including smoke, vapor, soot, fumes,
   acids, alkalis, chemicals and waste. Waste includes materials to be recycled, reconditioned or reclaimed.

X. Products-Completed Operations Hazard means all Bodily Injury and Property Damage occurring away from
   premises you own or rent and arising out of Your Product or Your Work except:

     1. products that are still in your physical possession; or

     2. work that has not yet been completed or abandoned. However, Your Work will be deemed completed at the
        earliest of the following times:

         a. when all of the work called for in your contract has been completed;

         b. when all of the work to be done at the job site has been completed if your contract calls for work at more
            than one job site; or

         c. when that part of the work done at a job site has been put to its intended use by any person or organization
            other than another contractor or subcontractor working on the same project.

         Work that may need service, maintenance, correction, repair or replacement, but which is otherwise complete,
         will be treated as completed.

     Products-Completed Operations Hazard does not include Bodily Injury or Property Damage arising out of:

     1. the transportation of property, unless the injury or damage arises out of a condition in or on a vehicle not owned
        or operated by you and that condition was created by the loading or unloading of that vehicle by any Insured;
        or

     2. the existence of tools, uninstalled equipment or abandoned or unused materials.

Y.    Property Damage means:

     1. physical injury to tangible property, including all resulting loss of use of that property. All such loss of use will
        be deemed to occur at the time of the physical injury that caused it; or

     2. loss of use of tangible property that is not physically injured. All such loss of use will be deemed to occur at the
        time of the Occurrence that caused it.

     For the purposes of this insurance, electronic data is not tangible property.

     As used in this definition, electronic data means information, facts or programs stored as or on, created or used on,
     or transmitted to or from computer software, including systems and applications software, hard or floppy disks,
     CD-ROMS, tapes, drives, cells, data processing devices or any other media which are used with electronically
     controlled equipment.

Z. Retained Limit means:

     1. the total applicable limits of Scheduled Underlying Insurance and any applicable Other Insurance providing
        coverage to the Insured; or



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     2. the Self-Insured Retention applicable to each Occurrence that results in damages not covered by
        Scheduled Underlying Insurance nor any applicable Other Insurance providing coverage to the Insured.

AA. Scheduled Underlying Insurance means:

     1. the policy or policies of insurance and limits of insurance shown in the Schedule of Underlying Insurance
        forming a part of this policy; and

     2. automatically any renewal or replacement of any policy in Paragraph 1. above, provided that such renewal or
        replacement provides equivalent coverage to and affords limits of insurance equal to or greater than the policy
        being renewed or replaced.

     Scheduled Underlying Insurance does not include a policy of insurance specifically purchased to be excess of
     this policy affording coverage that this policy also affords.

BB. Self-Insured Retention means the amount that is shown in Item 5. of the Declarations.

CC. Suit means a civil proceeding in which damages because of Bodily Injury, Property Damage, or Personal
    Injury and Advertising Injury to which this policy applies are alleged. Suit includes:

     1. an arbitration proceeding in which such damages are claimed and to which the Insured must submit or does
        submit with our consent; or

     2. any other alternative dispute resolution proceeding in which such damages are claimed and to which the
        Insured submits with our consent.

DD. Your Product means:

     1. any goods or products, other than real property, manufactured, sold, handled, distributed or disposed of by:

         a. you;

         b. others trading under your name; or

         c. a person or organization whose business or assets you have acquired; and

     2. containers (other than vehicles), materials, parts or equipment furnished in connection with such goods or
        products.

     Your Product includes:

     1. warranties or representations made at any time with respect to the fitness, quality, durability, performance or
        use of Your Product; and

     2. the providing of or failure to provide warnings or instructions.

     Your Product does not include vending machines or other property rented to or located for the use of others but
     not sold.

EE. Your Work means:

     1   work or operations performed by you or on your behalf; and

     2. materials, parts or equipment furnished in connection with such work or operations.

     Your Work includes:

     1. warranties or representations made at any time with respect to the fitness, quality, durability, performance or
        use of Your Work; and



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    2. the providing of or failure to provide warnings or instructions.

IN WITNESS WHEREOF, we have caused this policy to be executed and attested, but this policy will not be valid
unless countersigned by one of our duly authorized representatives, where required by law.

By signing below, our President and Secretary agree on our behalf to all the terms of this policy.




                            Secretary                                                 President

This policy shall not be valid unless signed at the time of issuance by our authorized representative, either below or on
the Declarations page of the policy.




                  Authorized Representative




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                                  SCHEDULE OF UNDERLYING INSURANCE


Issued to: KNIGHT OIL TOOLS INC                                          Policy Number: BE         13074559

By: CHARTIS SPECIALTY INSURANCE COMPANY

TYPE OF POLICY                      INSURER, POLICY NO.
OR COVERAGE                         AND POLICY PERIOD                LIMITS
GENERAL LIABILITY                   ACE American Insurance Co.       $1,000,000
(Knight Oil Tools, Inc.)            03/31/10                         EACH OCCURRENCE
                                    03/31/11                         $10,000,000
                                                                     GENERAL AGGREGATE
                                                                     $2,000,000
                                                                     PRODUCTS/C. OPS. AGGREGATE
                                                                     $1,000,000
                                                                     PERSONAL & ADVERTISING INJURY



                                                                     Defense Expenses are in addition to the limit

GENERAL LIABILITY                   Endurance Insurance Co.          $1,000,000
(Advanced Safety & Training         03/31/10                         EACH OCCURRENCE
Management, Inc.)                   03/31/11                         $2,000,000
                                                                     GENERAL AGGREGATE
                                                                     $2,000,000
                                                                     PRODUCTS/C. OPS. AGGREGATE
                                                                     $1,000,000
                                                                     PERSONAL & ADVERTISING INJURY



                                                                     Defense Expenses are in addition to the limit

GENERAL LIABILITY                   Philadelphia Indemnity Ins. Co   $1,000,000
(El Caballero, Inc.)                03/31/10                         EACH OCCURRENCE
                                    03/31/11                         $2,000,000
                                                                     GENERAL AGGREGATE
                                                                     $2,000,000
                                                                     PRODUCTS/C. OPS. AGGREGATE
                                                                     $1,000,000
                                                                     PERSONAL & ADVERTISING INJURY



                                                                     Defense Expenses are in addition to the limit

GENERAL LIABILITY                   Philadelphia Insurance Co.       $1,000,000
(Le Chevallier)                     03/31/10                         EACH OCCURRENCE
                                    03/31/11                         $2,000,000
                                                                     GENERAL AGGREGATE
                                                                     $2,000,000
                                                                     PRODUCTS/C. OPS. AGGREGATE
                                                                     $1,000,000
                                                                     PERSONAL & ADVERTISING INJURY



                                                                     Defense Expenses are in addition to the limit




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                                  SCHEDULE OF UNDERLYING INSURANCE


Issued to: KNIGHT OIL TOOLS INC                                      Policy Number: BE        13074559

By: CHARTIS SPECIALTY INSURANCE COMPANY

TYPE OF POLICY                     INSURER, POLICY NO.
OR COVERAGE                        AND POLICY PERIOD            LIMITS
AUTO LIABILITY                     ACE American Insurance Co.   $2,000,000
                                   03/31/10                     COMBINED SINGLE LIMIT
                                   03/31/11




                                                                Defense Expenses are in addition to the limit

EMPLOYERS LIABILITY                ACE American Insurance Co.   $1,000,000
                                   03/31/10                     EACH ACCIDENT
                                   03/31/11                     $1,000,000
                                                                DISEASE EACH EMPLOYEE
                                                                $1,000,000
                                                                DISEASE POLICY LIMIT




                                                                Defense Expenses are in addition to the limit

STOP GAP EL                        ACE American Insurance Co.   $1,000,000
                                   03/31/10                     EACH ACCIDENT
                                   03/31/11                     $1,000,000
                                                                DISEASE EACH EMPLOYEE
                                                                $1,000,000
                                                                DISEASE POLICY LIMIT




                                                                Defense Expenses are in addition to the limit

MARITIME EMPLOYERS LIABILITY       ACE American Insurance Co.   $1,000,000
(IF ANY BASIS)                     03/31/10                     EACH ACCIDENT
                                   03/31/11                     $1,000,000
                                                                DISEASE EACH EMPLOYEE
                                                                $1,000,000
                                                                DISEASE POLICY LIMIT




                                                                Defense Expenses are in addition to the limit




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                                  SCHEDULE OF UNDERLYING INSURANCE


Issued to: KNIGHT OIL TOOLS INC                                           Policy Number: BE         13074559

By: CHARTIS SPECIALTY INSURANCE COMPANY

TYPE OF POLICY                     INSURER, POLICY NO.
OR COVERAGE                        AND POLICY PERIOD                  LIMITS
EMPLOYEE BENEFITS LIABILITY        ACE American Insurance Co.         $1,000,000
(INCL IN GL - CLAIMS MADE)         03/31/10                           EACH CLAIM
                                   03/31/11                           $1,000,000
                                                                      AGGREGATE




                                                                      Defense Expenses are in addition to the limit

PROTECTION & INDEMNITY             Great American Insurance Co.       $1,000,000
                                   03/31/10                           EACH ACCIDENT
                                   03/31/11




                                                                      Limits are inclusive of Defense Expenses

WHARFINGER'S LEGAL LIABILITY       Great American Insurance Co.       $1,000,000
                                   03/31/10                           OCCURRENCE LIMIT
                                   03/31/11                           $1,000,000
                                                                      PER VESSEL, INCLUDING EQUIP.,
                                                                      CARGO & FREIGHT LIMIT
                                                                      $1,000,000
                                                                      PROPERTY DAMAGE & BODILY
                                                                      INJURY LIMIT



                                                                      Limits are inclusive of Defense Expenses

CHARTERER'S LEGAL LIABILITY        Great American Insurance Co.       $1,000,000
                                   03/31/10                           EACH OCCURRENCE
                                   03/31/11




                                                                      Limits are inclusive of Defense Expenses




                                                                  AUTHORIZED REPRESENTATIVE




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AH0006               Archive Copy
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                                             ENDORSEMENT No. 1



       This endorsement, effective 12:01 AM: March 31, 2010
       Forms a part of policy no: BE        13074559
       Issued to:   KNIGHT OIL TOOLS INC

       By: CHARTIS SPECIALTY INSURANCE COMPANY


                                Commercial Umbrella Policy with CrisisResponse

                              Act of Terrorism Self-Insured Retention Endorsement

   Solely with respect to any Act of Terrorism, this policy is amended as follows:

   The DECLARATIONS, ITEM 5. SELF-INSURED RETENTION is amended to include the following
   additional Self-Insured Retention:

       ACT OF TERRORISM SELF-INSURED RETENTION - $$1,000,000 Each Occurrence (As respects all
       liability covered under this policy arising out of any Act of Terrorism.) The Act of Terrorism Self-Insured
       Retention will not be reduced or exhausted by Defense Expenses.

   ITEM 6. OF THE DECLARATIONS, PREMIUM AND PREMIUM COMPUTATION is amended to include the
   following:

       ACT OF TERRORISM PREMIUM

   Section IV. LIMITS OF INSURANCE, is amended to include the following additional provision:

       The Act of Terrorism Self-Insured Retention applies whether or not there is any available Scheduled
       Underlying Insurance or Other Insurance providing coverage to the Insured. If there is Scheduled
       Underlying Insurance or Other Insurance providing coverage to the Insured, amounts received through
       such Scheduled Underlying Insurance or Other Insurance for payment of the Loss may be applied to
       reduce or exhaust the Act of Terrorism Self-Insured Retention. However, in no event will amounts
       received through such Scheduled Underlying Insurance or Other Insurance for the payment of
       Defense Expenses reduce the Act of Terrorism Self-Insured Retention.

   Section III. DEFENSE PROVISIONS, Paragraphs A. 1. and A. 2., and D. are deleted in their entireties, and
   Paragraph A. is replaced by the following:

       A. We will have no duty to defend any Suit against the Insured. We will, however, have the right, but not
          the duty, to participate in the defense of any Suit and the investigation of any claim to which this policy
          may apply. If we exercise this right, we will do so at our own expense.

   Section VII. DEFINITIONS is amended to include the following additional definition:

       Act of Terrorism means:

       1. any act which is verified or recognized by the United States Government as an act of terrorism,
          including a certified "act of terrorism" defined by Section 102. Definitions., of the Terrorism Risk
          Insurance Act of 2002 and any revisions, amendments, or extensions thereto; or




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       2. the use or threatened use of force or violence against person or property, or commission of an act
          dangerous to human life or property, or commission of an act that interferes with or disrupts an
          electronic or communication system, undertaken by any person or group, whether or not acting on
          behalf of or in connection with any organization, government, power, authority or military force, when
          the effect is to intimidate, coerce or harm a government, the civilian population or any segment thereof,
          or to disrupt any segment of the economy.

       Defense Expenses means any payment allocated to a specific loss, claim or Suit for its investigation,
       settlement or defense, including but not limited to:

           1. Attorney's fees and all other investigation, loss adjustment and litigation expenses;

           2. Premiums on bonds to release attachments;

           3. Premiums on appeal bonds required by law to appeal any claim or Suit;

           4. Costs taxed against the Insured in any claim or Suit;

           5. Pre-judgment interest awarded against the Insured;

           6. Interest that accrues after entry of judgment.

   It is understood and agreed that if any other endorsement to this policy excludes terrorism liability arising in one
   or more specified countries, the provisions of such exclusion shall supersede this endorsement.




   All other terms, definitions, conditions, and exclusions of this policy remain unchanged.




                                                                           Authorized Representative
                                                                  or Countersignature (in States Where Applicable)


83049 (3/06)                                          Page 2 of 2
AH1721                 Archive Copy
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                                             ENDORSEMENT No. 2



        This endorsement, effective 12:01 AM: March 31, 2010
        Forms a part of policy no: BE       13074559
        Issued to:   KNIGHT OIL TOOLS INC

        By: CHARTIS SPECIALTY INSURANCE COMPANY


                           Commercial Umbrella Liability Policy with CrisisResponse

                              CrisisResponse Coverage Enhancement Endorsement

   This policy is amended as follows:

   It is understood and agreed that in every instance in which the phrase "CrisisResponse Sublimit of Insurance"
   is referenced in this policy and/or its endorsements, the phrase "CrisisResponse Limit of Insurance" shall be
   substituted.

   Section IV. LIMITS OF INSURANCE, Paragraph I. is deleted in its entirety and replaced by the following:

   I.   The CrisisResponse Limit of Insurance is the most we will pay for all CrisisResponse Costs under this
        policy, regardless of the number of Crisis Management Events first commencing during the Policy
        Period. This CrisisResponse Limit of Insurance will be in addition to the applicable Limit of Insurance.




   All other terms, conditions, definitions and exclusions of this policy remain unchanged.




                                                                           Authorized Representative
                                                                      or Countersignature (Where Applicable)


94621 (5/07)
AH2035                 Archive Copy
  Case 6:21-cv-04191-RRS-CBW Document 1-11 Filed 12/07/21 Page 39 of 91 PageID #: 154

                                            ENDORSEMENT No. 3



       This endorsement, effective 12:01 AM: March 31, 2010
       Forms a part of policy no: BE       13074559
       Issued to:   KNIGHT OIL TOOLS INC

       By: CHARTIS SPECIALTY INSURANCE COMPANY


                                   COVERAGE TERRITORY ENDORSEMENT


   This endorsement modifies insurance provided under the following:

   Payment of loss under this policy shall only be made in full compliance with all United States of America
   economic or trade sanction laws or regulations, including, but not limited to, sanctions, laws and regulations
   administered and enforced by the U.S. Treasury Department's Office of Foreign Assets Control ("OFAC").




                                                              Authorized Representative



89644 (7/05)
AH2421                Archive Copy
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                                             ENDORSEMENT No. 4



       This endorsement, effective 12:01 AM: March 31, 2010
       Forms a part of policy no: BE        13074559
       Issued to:   KNIGHT OIL TOOLS INC

       By: CHARTIS SPECIALTY INSURANCE COMPANY


                           Commercial Umbrella Liability Policy With CrisisResponse

                Violation of Economic or Trade Sanctions Condition Amendment Endorsement

   This policy is amended as follows:

   Section VI. CONDITIONS, Paragraph R. Violation of Economic or Trade Sanctions is deleted in its entirety.




   All other terms, definitions, conditions, and exclusions of this policy remain unchanged.




                                                                Authorized Representative
                                                                or Countersignature (Where Applicable)


99497 (6/08)
AH2423                 Archive Copy
  Case 6:21-cv-04191-RRS-CBW Document 1-11 Filed 12/07/21 Page 41 of 91 PageID #: 156

                                              ENDORSEMENT No. 5



       This endorsement, effective 12:01 AM: March 31, 2010
       Forms a part of policy no: BE         13074559
       Issued to:   KNIGHT OIL TOOLS INC

       By: CHARTIS SPECIALTY INSURANCE COMPANY


                           Commercial Umbrella Liability Policy with CrisisResponse

                Violation of Economic or Trade Sanctions Condition Amendment Endorsement

   This policy is amended as follows:

   Section VI. CONDITIONS, Paragraph S. Violation of Economic or Trade Sanctions is deleted in its entirety.




   All other terms, definitions, conditions, and exclusions of this policy remain unchanged.




                                                                Authorized Representative or
                                                                Countersignature (Where Applicable)


101111 (3/09)
AH2526                 Archive Copy
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                                               ENDORSEMENT No. 6


        This endorsement, effective 12:01 AM: March 31, 2010
        Forms a part of policy no: BE         13074559
        Issued to:   KNIGHT OIL TOOLS INC

        By: CHARTIS SPECIALTY INSURANCE COMPANY


                             Commercial Umbrella Liability Policy with CrisisResponse

                              Duties in the Event of an Occurrence, Claim or Suit and
                                 Schedule A - Approved Crisis Management Firms


Solely as respects coverage provided by Section II INSURING AGREEMENT - CRISISRESPONSESM AND EXCESS
CASUALTY CRISIS FUND , the following conditions are added to Section VI. Conditions, Paragraph G. Duties in the
Event of an Occurrence, Claim or Suit:


You must report any Crisis Management Event to us within twenty-four (24) hours of the time that a Key Executive
first becomes aware of an Occurrence that gives rise to a Crisis Management Event or as soon as practicable to be
eligible for the advancement of CrisisResponse Costs and the payment of Crisis Management Loss.

Notice of a Crisis Management Event may be given by calling 1-877-244-3100. If notice is given by telephone, written
notice will be given as soon as practicable thereafter. Written notice should include:

    1. how, when and where the Crisis Management Event is taking or took place;

    2. the names and addresses of any injured persons and any witnesses; and

    3. the nature and location of any injury or damage arising out of the Crisis Management Event.

    Written notice should be mailed or delivered to:

                Chartis Claims, Inc.
                Excess Casualty Claims Department
                Segmentation Unit
                175 Water Street, 22nd Floor
                New York, NY 10038
                Fax: (866) 743-4376
                E-mail: excessfnol@chartisinsurance.com




All other terms, definitions, conditions, and exclusions of this policy remain unchanged.




                                                                            Authorized Representative
                                                                       or Countersignature (Where Applicable)


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                                                 Schedule A

                                   Approved Crisis Management Firms

   The following firms are approved Crisis Mangement Firms:

   FIRM ADDRESS              CONTACT INFORMATION                     EMERGENCY            SERVICES
                                                                     TELEPHONE            OFFERED

 The Abernathy MacGregor Group
 501 Madison Avenue              James T. MacGregor                  (917) 449-9964   Public Relations and
 New York, NY 10022              (212) 371-5999 Office                                Crisis Management
                                 (646) 236-3271 Cell
                                 (212) 752-0723 Fax
                                 (212) 343-0818 Home
                                 jtm@abmac.com

                                 Rhonda Barnat
                                 (212) 371-5999 Office
                                 (917) 912-6378 Cell
                                 (212) 752-0723 Fax
                                 (646) 478-8740 Home
                                 rb@abmac.com

 611 West Sixth Street,          Ian D. Campbell                     (818) 750-4392
 Suite 1880                      (213) 630-6550 Office               (917) 940-3476
 Los Angeles, CA 90017           (213) 489-3443 Cell
                                 (213) 489-3443 Fax
                                 (818) 957-5650 Home
                                 (818) 541-0954 Home Fax
                                 idc@abmac.com


 Bright Light Marketing Group (Hawaii Only)
 1001 Bishop Street,             Charlene Lo Chan                                     Public Relations and
 Suite 900                       (808) 275-3007 Direct                                Crisis Management
 Honolulu, Hawaii                (808) 524-6441 Office
 96813-3429                      (808) 781-7733 Cell
                                 (808) 524-8115 Fax
                                 charlene@brightlightmarketing.com


 Edelman Public Relations Worldwide
 200 East Randolph               Bill Keegan                                          International Public
 Street, 63 rd Floor             (312) 240-2624 Direct                                Relations and Crisis
 Chicago, IL 60601               (312) 240-3000 Office                                Management
                                 (312) 927-8424 Cell
                                 (312) 240-2900 Fax
                                 bill.keegan@edelman.com

 1500 Broadway,                  Chris Deri
 26 th Floor                     (212) 704-4526 Office
 New York, NY                    (212) 391-6389 Fax
                                 (917) 783-6771 Cell
                                 chris.deri@edelman.com


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 Edward Howard and Company
 1100 Superior Avenue,          Wayne Hill                                         Public Relations and
 Suite 1600                     (216) 781-2400 Office                              Crisis Management
 Cleveland, OH                  (216) 408-1211 Cell
 44114-2518                     whill@edwardhoward.com


 Fleishman-Hilliard, Inc.
 John Hancock Center            David Saltz                                        Public Relations and
 875 N. Michigan                (312) 751-3530 Direct                              Crisis Management
 Avenue, Suite 3300             (312) 751-8878 Office
 Chicago, IL                    (312) 203-2114 Cell
 60611-1901                     (312) 751-8191 Fax
                                david.saltz@fleishman.com

 1615 L Street NW,              Benjamin (Ben) Kincannon
 Suite 1000                     (617) 692-0501 Office
 Washington, D.C.               (508) 314-4154 Cell
 20036-5610                     (617) 267-5905 Fax
                                ben.kincannon@fleishman.com


 Hill and Knowlton, Inc.
 909 Third Avenue               Christopher R. Gidez              (888) 264-5193   Public Relations and
 New York, NY 10022             (212) 885-0480 Direct                              Crisis Management
                                (212) 885-0300 Office
                                (914) 319-6582 Cell
                                (212) 885-0524 Fax
                                chris.gidez@hillandknowlton.com

                                Richard (Dick) C. Hyde
                                (212) 885-0372 Direct
                                (212) 885-0300 Office
                                (917) 816-2208 Cell
                                (212) 855-0570 Fax
                                dhyde@hillandknowlton.com

 55 Metcalfe Street,            Jo-Anne Polak
 Suite 1100                     (613) 786-9954 Direct
 Ottawa, Canada                 (613) 238-4371 Office
 K1P 6L5                        (613) 761-2684 Cell
                                (613) 238-8642 Fax
                                jpolak@hillandknowlton.com


 Lexicon Communications Corp.
 520 Bellmore Way               Steven B. Fink                    (626) 683-9333   Public Relations and
 Pasadena, CA 91103             (626) 683-9333 Direct                              Crisis Management
                                (626) 683-9200 Ext. 225 Office
                                (626) 253-1519 Cell
                                (626) 449-7659 Fax
                                sfink@lexiconcorp.com

                                Daryn Teague
                                (661) 297-5292 Direct
                                (805) 358-3058 Cell


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 Robinson Lerer & Montgomery
 1345 Avenue of the              Michael Gross                 (646) 805-2000   Public Relations and
 Americas, 4 th Floor            (646) 805-2003 Direct                          Crisis Management
 New York, NY 10105              (646) 805-2000 Office
                                 (917) 853-0620 Cell
                                 (646) 557-0002 Fax
                                 (718) 788-5281 Home
                                 mgross@rlmnet.com

                                 Patrick S. Gallagher
                                 (646) 805-2007 Direct
                                 (646) 805-2000 Office
                                 (917) 328-9333 Cell
                                 (646) 805-2829 Fax
                                 (914) 232-4256 Home
                                 pgallagher@rlmnet.com


 Sard Verbinnen & Co.
 630 Third Avenue,               George Sard                   (917) 750-4392   Public Relations and
 9 th Floor                      (212) 687-8080 Office                          Crisis Management
 New York, NY 10017              (212 687-8344 Fax
                                 gsard@sardverb.com

                                 Paul Verbinnen
                                 (212) 687-8080 Office
                                 (212) 687-8344 Fax
                                 pv@sardverb.com

 190 S. LaSalle Street,          Brad Wilks
 Suite 1600                      (312) 895-4740 Direct
 Chicago, IL 60603               (312) 895-4700 Office
                                 (312) 895-4747 Fax
                                 bwilks@sardverb.com

 275 Battery Street,             Paul Kranhold
 Suite 480                       (415) 618-8750 Office
 San Francisco, CA               (415) 568-9580 Fax
 94111                           pkranhold@sardverb.com


 Sitrick and Company, Inc.
 655 Third Avenue,               Jeffrey S. Lloyd              (310) 358-1011   Public Relations and
 22 nd Floor                     (212) 660-6393 Direct                          Crisis Management
 New York, NY 10017              (212) 573-6100 Office
                                 (310) 963-2850 Cell
                                 (212) 573-6165 Fax
                                 jeff_lloyd@sitrick.com

 1840 Century Park East,         Michael S. Sitrick
 Suite 800                       (310) 788-2850 Direct
 Los Angeles, CA                 (310) 788-2855 Fax
 90067                           mike_sitrick@sitrick.com




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 The Torrenzano Group
 The Lincoln Building           Richard Torrenzano                                 Public Relation and
 60 East 42 nd Street,          (212) 681-1700 Ext. 111 Direct                     Crisis Management
 Suite 2112                     (212) 681-6961 Fax
 New York, NY 10165-2112        richard@torrenzano.com

                                Edward A. Orgon
                                (212) 681-1700 Ext. 102 Direct
                                (917) 539-4000 Cell
                                (212) 681-6961 Fax
                                ed@torrenzano.com


 Zeno Group
 The Foundry Building           Phillip Armstrong                                  Public Relations and
 10555 Thomas Jefferson         (202) 965-7801 Direct                              Crisis Management
 Street NW                      (202) 669-9926 Cell
 Washington, D.C.               phil.armstrong@zenogroup.com
 20007




       THE FOLLOWING NON-PUBLIC RELATIONS FIRMS ARE APPROVED CRISIS RESPONSE FIRMS:

   FIRM ADDRESS               CONTACT INFORMATION                EMERGENCY             SERVICES
                                                                 TELEPHONE             OFFERED

 Coventry Health Care, Inc.
 3200 Highland Avenue           Nicole Bennet-Denson             (800) 552-5378    Psychological
 Downers Grove, IL              (212) 283-7183 Fax               Crisis Response   Counseling,
 60515                          (646) 284-8835 Cell                                Medical Case
                                nxbennettden@cvty.com            (888) 736-3272    Management,
                                                                 Case Management   Medical Cost
                                                                                   Projection and
                                                                                   Containment.
                                Anthony Nastasi
                                (914) 874-4727 Cell
                                (845) 265-5086 Fax
                                atnastasi@cvty.com


 D.A.R., Inc.
 4 Iris Drive                   David W. Hunt                                      Crisis Management,
 Scarborough, Maine             (207) 415-0735 Direct                              Global Investigative
 04074                          (207) 883-0493 Home                                Services, Access to
                                (207) 883-2436 Fax                                 Local, State and
                                dhunt12348@aol.com                                 Federal Police
                                                                                   Authorities, National
                                                                                   & International
                                                                                   Intelligence Agencies,
                                                                                   Crisis Management
                                                                                   Training, Threat and
                                                                                   Vulnerability
                                                                                   Assessment.



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 GAB Robbins North America, Inc.
 560 Peoples Plaza,             Gail Oliver                           Claims Investigative
 Suite 215                      (302) 838-1684 Direct                 Services, Appraisal
 Newark, Delaware               (302) 521-4985 Cell                   Services, Emergency
 19702                          (302) 838-1685 Fax                    Claims Services and
                                oliverg@gabrobbins.com                Loss Call Center
                                                                      Operations.


 Marsh, Inc. (Reputational Risk & Crisis Management Group)
 (Formerly Kroll Associates)

 1166 Avenue of the             Ilene Merdinger                       Crisis Management
 Americas                       (212) 345-1690 Direct                 and Investigative
 New York, NY 10036             (914) 924-1040 Cell                   Services
                                (212) 948-8638 Fax
                                ilene.merdinger@marsh.com

                                Larry Walsh
                                (212) 345-2765 Direct
                                (917) 841-8839 Cell
                                (212) 948-8638 Fax
                                larry.walsh@marsh.com

 1255 23 rd Street NW           Robert Wilkerson
 Washington, D.C. 20037         (202) 263-7920 Direct
                                (202) 256-4931 Cell
                                (202) 263-7900 Fax
                                robert.wilkerson@marsh.com




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                                              ENDORSEMENT No. 7



       This endorsement, effective 12:01 AM: March 31, 2010
       Forms a part of policy no: BE         13074559
       Issued to:   KNIGHT OIL TOOLS INC

       By: CHARTIS SPECIALTY INSURANCE COMPANY


                           Commercial Umbrella Liability Policy with CrisisResponse

                             Duties in the Event of an Occurrence, Claim or Suit and
                                Schedule A - Approved Crisis Management Firms

   Solely as respects coverage provided by Section II INSURING AGREEMENT - CRISISRESPONSESM AND
   EXCESS CASUALTY CRISIS FUND , the following conditions are added to Section VI. Conditions, Paragraph
   G. Duties in the Event of an Occurrence, Claim or Suit:

   You must report any Crisis Management Event to us within twenty-four (24) hours of the time that a Key
   Executive first becomes aware of an Occurrence that gives rise to a Crisis Management Event or as soon
   as practicable to be eligible for the advancement of CrisisResponse Costs and the payment of Crisis
   Management Loss.

   Notice of a Crisis Management Event may be given by calling 1-877-244-3100. If notice is given by
   telephone, written notice will be given as soon as practicable thereafter. Written notice should include:

       1. how, when and where the Crisis Management Event is taking or took place;

       2. the names and addresses of any injured persons and any witnesses; and

       3. the nature and location of any injury or damage arising out of the Crisis Management Event.

       Written notice should be mailed, e-mailed, or delivered to:

               Chartis Claims, Inc.
               Excess Casualty Claims Department
               Segmentation Unit
               175 Water Street, 22nd Floor
               New York, NY 10038
               Fax: (866) 743-4376
               E-mail: excessfnol@chartisinsurance.com




   All other terms, definitions, conditions, and exclusions of this policy remain unchanged.




                                                                Authorized Representative or
                                                                Countersignature (Where Applicable)


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                                          SCHEDULE A
   THE FOLLOWING PUBLIC RELATIONS FIRMS ARE APPROVED CRISIS RESPONSE VENDORS:

   FIRM ADDRESS             CONTACT INFORMATION                   EMERGENCY          SERVICES
                                                                  TELEPHONE          OFFERED

 Abernathy MacGregor Group
 501 Madison Avenue           James T. MacGregor                  (917) 912-6378   Public Relations.
 New York, NY 10022           (212) 371-5999 Office                                Crisis Management
                              (646) 236-3271 Cell                                  and Threat &
                              (212) 752-0723 Fax                                   Vulnerability
                              (212) 343-0818 Home                                  Assessment.
                              jtm@abmac.com

                              Rhonda Barnat
                              (212) 371-5999 Office
                              (917) 912-6378 Cell
                              (212) 752-0723 Fax
                              (646) 478-8740 Home
                              rb@abmac.com

 611 W. Sixth Street,         Ian D. Campbell                     (818) 750-4392
 Suite 1880                   (213) 630-6550 Office               (917) 940-3476
 Los Angeles, CA 90017        (213) 489-3443 Cell
                              (213) 489-3443 Fax
                              (818) 957-5650 Home
                              (818) 541-0954 Home Fax
                              idc@abmac.com

 Ann Barks Public Relations (Southeastern United States)
 896 Cross Gates              Ann W. Barks                        (985) 290-8304   Public Relations and
 Boulevard                    (985) 847-0750 Direct                                Crisis Management
 Slidell, LA 70461            (985) 290-8304 Cell
                              abarkspr@bellsouth.net

 Bright Light Marketing Group (Hawaii Only)
 1001 Bishop Street,          Charlene Lo Chan                                     Public Relations and
 Suite 900                    (808) 275-3007 Direct                                Crisis Management
 Honolulu, Hawaii             (808) 524-6441 Office
 96813-3429                   (808) 781-7733 Cell
                              (808) 524-8115 Fax
                              charlene@brightlightmarketing.com

 Dix & Eaton
 Dix & Eaton                  Matt Barkett                        (216) 241-3073   Public Relations.
 200 Public Square            (216) 241-3073 Direct                                Crisis Management
 Suite 1400                   (216) 241-3073 Cell                                  and Threat &
 Cleveland, OH                mbarkett@dix-eaton.com                               Vulnerability
 44114-2316                                                                        Assessment




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   FIRM ADDRESS              CONTACT INFORMATION              EMERGENCY          SERVICES
                                                              TELEPHONE          OFFERED

 Edelman
 200 E. Randolf Drive          William R. Keegan              (312) 927-8424   Public Relations.
 Chicago, IL 60601             (312) 240-2624 Direct                           Crisis Management
                               (312) 240-3000 Office                           and Threat &
                               (312) 240-2900 Fax                              Vulnerability
                               (312) 927-8424 Cell                             Assessment
                               bill.keegan@edelman.com

 Edward Howard and Company
 1100 Superior Ave.,           Wayne Hill                     (216) 408-1211   Public Relations.
 Suite 1600                    (216) 298-4630 Direct                           Crisis Management
 Cleveland, OH 44114           (216) 781-2400 Office                           and Threat &
                               (216) 408-1211 Cell                             Vulnerability
                               whill@edwardhoward.com                          Assessment

                               Kathy Cupper Obert
                               (216) 298-4620 Direct
                               (216) 781-2400 Office
                               (330) 730-5500 Cell
                               kobert@edwardhoward.com

                               Chuck Vella
                               (937) 223-7386 Direct
                               (973) 228-1141 Office
                               (937) 603-5795 Cell
                               cvella@edwardhoward.com

                               Allen Pfenninger
                               (216) 298-4653 Direct
                               (216) 781-2400 Office
                               (216) 554-4455 Cell
                               apfenninger@edwardhoward.com

 Fleishman-Hilliard International Communications, Inc.
 John Hancock Center           David Saltz                                     Public Relations.
 875 N. Michigan               (312) 751-3530 Direct                           Crisis Management
 Avenue, Suite 3300            (312) 751-8878 Office                           and Threat &
 Chicago, IL                   (312) 203-2114 Cell                             Vulnerability
 60611-1901                    (312) 751-8191 Fax                              Assessment
                               david.saltz@fleishman.com

 1615 L Street NW,             Benjamin (Ben) Kincannon
 Suite 1000                    (617) 69200501 Office
 Washington, D.C.              (508) 314-4154 Cell
 20036-5610                    (617) 267-5905 Fax
                               ben.kincannon@fleishman.com

 Levick Strategic Communications, LLC
 1900 M Street NW              Gene Grabowski                 (202) 270-6560   Public Relations.
 Washington, D.C.              (202) 973-1351 Direct                           Crisis Management
 20036                         (202) 270-6560 Cell                             and Threat &
                               (202) 973-1301 Fax                              Vulnerability
                               ggrabowski@levick.com                           Assessment
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   FIRM ADDRESS              CONTACT INFORMATION                EMERGENCY          SERVICES
                                                                TELEPHONE          OFFERED

 Lexicon Communications Corp.
 520 Bellmore Way              Steven B. Fink                   (626) 683-9333   Public Relations.
 Pasadena, CA 91103            (626) 683-9333 Direct                             Crisis Management
                               (626) 683-9200 Ext. 225 Office                    and Threat &
                               (626) 253-1519 Cell                               Vulnerability
                               (626) 449-7659 Fax                                Assessment
                               sfink@lexiconcorp.com

 Marsh, Inc. (Reputational Risk & Crisis Management Group f/k/a Kroll Associates)
 1166 Avenue of the            Ilene Merdinger                  (914) 924-1040   Public Relations.
 Americas                      (212) 345-1690 Direct                             Crisis Management
 New York, NY 10036            (914) 924-1040 Cell                               and Threat &
                               (212) 948-8638 Fax                                Vulnerability
                               ilene.merdinger@marsh.com                         Assessment

                               Larry Walsh
                               (212) 345-2765 Direct
                               (917) 841-8839 Cell
                               (212) 948-8638 Fax
                               larry.walsh@marsh.com

 1255 23 rd Street NW          Robert Wilkerson
 Washington, D.C.              (202) 263-7920 Direct
 20037                         (202) 256-4931 Cell
                               (202) 263-7900 Fax
                               robert.wilkerson@marsh.com

 Robinson Lerer & Montgomery
 1345 Avenue of the            Michael Gross                    (646) 805-2000   Public Relations.
 Americas                      (646) 805-2003 Direct                             Crisis Management
 4 th Floor                    (646) 805-2000 Office                             and Threat &
 New York, NY                  (917) 853-0620 Cell                               Vulnerability
 10105                         (718) 788-5281 Home                               Assessment
                               mgross@rlmnet.com

                               Patrick S. Gallagher
                               (646) 805-2007 Direct
                               (646) 805-2000 Office
                               (917) 328-9333 Cell
                               (646) 805-2829 Fax
                               (914) 232-4256 Home
                               pgallagher@rlmnet.com


 Sard Verbinnen & Co.
 630 Third Avenue,             George Sard                      (917) 750-4392   Public Relations.
 9 th Floor                    (212) 687-8080 Office                             Crisis Management
 New York, NY 10017            (212 687-8344 Fax                                 and Threat &
                               gsard@sardverb.com                                Vulnerability
                                                                                 Assessment




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   FIRM ADDRESS                CONTACT INFORMATION                EMERGENCY          SERVICES
                                                                  TELEPHONE          OFFERED

 Sard Verbinnen & Co. (cont.)
 190 S. LaSalle Street,          Brad Wilks
 Suite 1600                      (312) 895-4740 Direct
 Chicago, IL                     (312) 895-4700 Office
 60603                           (312) 895-4747 Fax
                                 bwilks@sardverb.com

 275 Battery Street,             Paul Kranhold
 Suite 480                       (415) 618-8750 Office
 San Francisco, CA               (415) 568-9580 Fax
 94111                           pkranhold@sardverb.com


 Sitrick and Company, Inc.
 655 Third Avenue,               Jeffrey S. Lloyd                 (310) 358-1011   Public Relations.
 22 nd Floor                     (212) 660-6393 Direct                             Crisis Management
 New York, NY 10017              (212) 573-6100 Office                             and Threat &
                                 (310) 963-2850 Cell                               Vulnerability
                                 (212) 573-6165 Fax                                Assessment
                                 jeff_lloyd@sitrick.com

 1840 Century Park               Michael S. Sitrick
 East, Suite 800                 (310) 788-2850 Direct
 Los Angeles, CA                 (310) 788-2855 Fax
 90067                           mike_sitrick@sitrick.com


 The Rogers Group
 1875 Century Park               Lynne M. Doll                    (310) 552-6922   Public Relations.
 East, Suite 300                 (310) 552-4108 Direct                             Crisis Management
 Los Angeles, CA 90067           (310) 552-6922 Office                             and Threat &
                                 (310) 552-9052 Fax                                Vulnerability
                                 ldoll@rogerspr.com                                Assessment


 The Torrenzano Group
 The Lincoln Building            Richard Torrenzano                                Public Relations.
 60 East 42 nd Street,           (212) 681-1700 Ext. 111 Direct                    Crisis Management
 Suite 2112                      (212) 681-6961 Fax                                and Threat &
 New York, NY                    richard@torrenzano.com                            Vulnerability
 10165-2112                                                                        Assessment

                                 Edward A. Orgon
                                 (212) 681-1700 Ext. 102 Direct
                                 (917) 539-4000 Cell
                                 (212) 681-6961 Fax
                                 ed@torrenzano.com




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   THE FOLLOWING NON-PUBLIC RELATIONS FIRMS ARE APPROVED CRISIS RESPONSE VENDORS:

   FIRM ADDRESS             CONTACT INFORMATION                EMERGENCY          SERVICES
                                                               TELEPHONE          OFFERED

 Coventry Health Care, Inc.
 3200 Highland Ave.           Michael Lacroix                 (888) 552-5378    Psychological
 Downers Grove, IL            (914) 223-4463 Cell                               Counseling,
 60515                        (786) 513-7690 Fax                                Medical Case
                              jxlacroix@cvty.com                                Management,
                                                                                Medical Cost
                                                                                Projection and
                                                                                Containment.


 D.A.R., Inc.
 4 Iris Drive                 David W. Hunt                   (207) 415-0735    Crisis Management,
 Scarborough, Maine           (207) 415-0735 Direct                             Global Investigative
 04074                        (207) 883-0493 Home                               Services, Access to
                              (207) 883-2436 Fax                                National &
                              dhunt12348@aol.com                                International
                                                                                Intelligence
                                                                                Agencies, Crisis
                                                                                Management, Threat
                                                                                and Vulnerability
                                                                                Assessment.


 GAB Robbins North America, Inc.
 560 Peoples Plaza,           Gail Oliver                                       Claims Investigative
 Suite 215                    (302) 838-1684 Direct                             Services, Appraisal
 Newark, Delaware             (302) 521-4985 Cell                               Services,
 19702                        (302) 838-1685 Fax                                Emergency Claims
                              oliverg@gabrobbins.com                            Services and Loss
                                                                                Call Center
                                                                                Operations.


 Lombardi Associates
 277 Fairfield Road,          Anthony Nastasi                  (877) 715-2440   Psychological
 Suite 305A                   (973) 271-8928 Direct                             Counseling,
 Fairfield, NJ 07004          (800) 550-0095 Office                             Medical Case
                              (310) 552-9052 Fax                                Management,
                              anthony.nastasi@lombardiassociates.com            Medical Cost
                                                                                Projection and
                                                                                Containment.


 Meagher & Geer, P.L.L.P.
 33 S. Sixth Street,          Russell D. Melton               (612) 347-9118    Crisis Management
 Suite 4400                   (612) 371-1317 Direct                             and Threat &
 Minneapolis,                 (612) 338-0661 Office                             Vulnerability
                              (612) 338-8384 Fax                                Assessment
 MN 55402
                              (612) 964-1882 Cell
                              rmelton@meagher.com



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   FIRM ADDRESS             CONTACT INFORMATION                EMERGENCY          SERVICES
                                                               TELEPHONE          OFFERED

 T. J. Russo Consultants (Nationwide)
 99 Hillside Avenue,          Michael W. Russo                 (516) 456-3900   Fire Investigation
 Suite X                       (516) 294-8644 Ext. 15 Direct                    and Analysis
 Williston Park, NY           (516) 747-1009 Fax                                Services.
                              (516) 456-3900 Cell
 11596
                              mwrusso123@aol.com




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                                             ENDORSEMENT No. 8


       This endorsement, effective 12:01 AM: March 31, 2010
       Forms a part of policy no.: BE        13074559
       Issued to:    KNIGHT OIL TOOLS INC

       By: CHARTIS SPECIALTY INSURANCE COMPANY



                                   LOUISIANA AMENDATORY ENDORSEMENT

       Wherever used in this endorsement: 1) "Insurer" means the insurance company which issued this
       policy; and 2)"First Named Insured" and "Insured" mean the Named Corporation, Named Organization,
       Named Entity, Named Sponsor, Named Insured, or Insured stated in the declarations page; and 3)
       "Other Insured(s)" means all other persons or entities afforded coverage under the policy.

       The following is added and supersedes any provision to the contrary:
       A.      The First Named Insured may cancel this policy by mailing or delivering to the Insurer advance
               written notice of cancellation.
               Within thirty days following such cancellation the insurer shall pay to the insured or to the
               person entitled thereto as shown by the insurer's records, any unearned portion of any premium
               paid on the policy as computed on the customary short rate or as otherwise specified in the
               policy and any unearned commission. If no premium has been paid on the policy, the insured
               shall be liable to the insurer for premium for the period during which the policy was in force.

       B.      CANCELLATION OF NEW POLICIES IN EFFECT FOR LESS THAN SIXTY (60) DAYS
               If this policy has been in effect for less than sixty (60) days and is not a renewal, the Insurer
               may cancel this policy for any reason, by mailing or delivering to the First Named Insured
               written notice of cancellation at least sixty (60) days before the effective date of cancellation.
       C.      CANCELLATION OF RENEWAL POLICIES AND NEW POLICIES IN EFFECT FOR SIXTY (60)
               DAYS OR MORE
               If this policy has been in effect for sixty (60) days or more, or is a renewal of a policy the
               Insurer issued, the Insurer may cancel only for one or more of the following reasons:

               (1)     Nonpayment of premium;
               (2)     Fraud or material misrepresentation made by, or with the knowledge of, the First Named
                       Insured or Other Insured(s) in obtaining the policy, continuing the policy, or in
                       presenting a claim under a policy;
               (3)     Activities or omissions by the First Named Insured which change or increase any hazard
                       insured against, (including a failure to comply with loss control recommendations);
               (4)     Change in the risk which increases the risk of loss after the Insurer issued or renewed
                       this policy, including an increase in exposure due to regulation, legislation, or court
                       decision;
               (5)     Determination by the Commissioner of Insurance that the continuation of this policy
                       would jeopardize the solvency of the Insurer or would place the Insurer in violation of
                       the insurance laws of this or any other state;
               (6)     The violation or breach of any policy terms or conditions by the Insured or Other
                       Insured(s); or

               (7)     Any other reasons that are approved by the Commissioner of Insurance.


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               The Insurer will mail or deliver written notice of cancellation under item C to the First Named
               Insured at least:
               (a)     Ten (10) days before the effective date of cancellation if the Insurer cancels for
                       nonpayment of premium; or
               (b)     Thirty (30) days before the effective date of cancellation if the insurer cancels for a
                       reason described in C.(2) through (7) above.
       D.      WHEN A MORTGAGE HOLDER IS SHOWN IN THE POLICY
               If the Insurer cancels this policy, the Insurer will give written notice to the mortgage holder at
               least thirty (30) days before the effective date of cancellation or ten (10) days written notice of
               cancellation if cancellation is for nonpayment of premium. Like notice must also be delivered or
               mailed to each mortgagee, pledgee or other known person shown in the policy to have an
               interest in any loss which may occur.

       E.      THE FOLLOWING IS ADDED:

               NONRENEWAL
               1.      If the Insurer decides not to renew this policy, the Insurer will mail or deliver written
                       notice of nonrenewal to the First Named Insured, at least sixty (60) days before its
                       expiration date, or its anniversary date if it is a policy written for a term of more than
                       one year or with no fixed expiration date.
               2.      The Insurer need not mail or deliver this notice if:
                       (a)    The Insurer or another company within the same insurance group has offered to
                              issue a renewal policy; or
                       (b)     The First Named Insured has obtained replacement coverage or has agreed in
                               writing to obtain replacement coverage.
               3.      Any notice of nonrenewal will be mailed or delivered to the First Named Insured at the
                       last mailing address known to the Insurer. If notice is mailed, proof of mailing will be
                       sufficient proof of notice.

               4.      Such notice shall include the insured's loss run information for the period the policy has
                       been in force within, but not to exceed, the last three years of coverage.




       All other terms, conditions and exclusions remain unchanged.




                                                                       AUTHORIZED REPRESENTATIVE




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                                              ENDORSEMENT No. 9



       This endorsement, effective 12:01 AM: March 31, 2010
       Forms a part of policy no: BE         13074559
       Issued to:   KNIGHT OIL TOOLS INC

       By: CHARTIS SPECIALTY INSURANCE COMPANY


                           Commercial Umbrella Liability Policy With CrisisResponse

                             Aircraft Products and Grounding Exclusion Endorsement

   This policy is amended as follows:

   Section V. EXCLUSIONS is amended to include the following additional exclusion:

   Aircraft Products and Grounding

       This insurance does not apply to any liability included within the Products-Completed Operations Hazard
       relating to:

           1. aircraft or any part thereof, and any ground support or control equipment or any part thereof used
              therewith whether manufactured by the Insured or anyone else;

           2. any goods, products, parts, or materials manufactured, sold, handled or distributed by the Insured
              or any services provided or recommended by the Insured or by others trading under the Insured's
              name used by the Insured or others in the manufacture, repair, or operation of any aircraft or part
              thereof, whether such aircraft or part is manufactured by the Insured or anyone else; or

           3. any articles furnished by the Insured, its predecessors, or by others trading under the Insured's
              name and installed by the Insured or others in any aircraft or part thereof or used in connection
              with any aircraft or part thereof or for spare parts for any aircraft or part thereof including but not
              limited to ground handling tools and equipment, training aids, instructions, manuals, blueprints,
              engineering or other advice or service relating to any aircraft or part thereof, whether manufactured
              by the Insured or anyone else, and any labor relating to such aircraft or part thereof or articles.

       For the purpose of this endorsement, aircraft includes missiles, spacecraft and launch vehicles.

       In addition, this insurance does not apply to Bodily Injury or Property Damage arising out of the
       Grounding of any aircraft whether manufactured by the Insured or anyone else.

   Section VII. DEFINITIONS is amended to include the following additional definition:

       Grounding means the withdrawal of one or more aircraft from flight operations or the imposition of speed,
       passenger or load restrictions on such aircraft by reason of the existence of or alleged or suspected
       existence of any defect, fault or condition in such aircraft, or any part thereof sold, manufactured, handled or
       distributed by the Insured or manufactured, assembled or processed by any other person or organization
       according to specifications, plans, suggestions, orders or drawings of the Insured or with tools, machinery
       or other equipment furnished to such persons or organizations by the Insured, whether such aircraft so
       withdrawn are owned or operated by the same or different persons, organizations or corporations. A
       Grounding will be deemed to commence on the date of an Occurrence which discloses such defect, fault,




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       or condition or on the date an aircraft is first withdrawn from service on account of such defect, default or
       condition, whichever occurs first.




   All other terms, definitions, conditions, and exclusions of this policy remain unchanged.




                                                                Authorized Representative or
                                                                Countersignature (Where Applicable)


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                                              ENDORSEMENT No. 10



       This endorsement, effective 12:01 AM: March 31, 2010
       Forms a part of policy no: BE         13074559
       Issued to:   KNIGHT OIL TOOLS INC

       By: CHARTIS SPECIALTY INSURANCE COMPANY

                           Commercial Umbrella Liability Policy with CrisisResponse

                     Architects and Engineers Professional Liability Exclusion Endorsement

   This policy is amended as follows:

   Section V. EXCLUSIONS is amended to include the following additional exclusion:

       Architects and Engineers

       This insurance does not apply to any liability arising out of any act, error or omission, malpractice or mistake
       committed or alleged to have been committed by or on behalf of the Insured in the performance of
       architectural or engineering services, including but not limited to:

       1. the preparation or approval of maps, plans, opinions, reports, surveys, designs or specifications; and

       2. supervisory, inspection or engineering services.

       It is understood this exclusion applies even if the claims against any Insured allege negligence or other
       wrongdoing in the supervision, hiring, employment, training or monitoring of others by that Insured.




   All other terms, definitions, conditions, and exclusions of this policy remain unchanged.




                                                                           Authorized Representative
                                                                      or Countersignature (Where Applicable)


86448 (6/05)
AH1669                 Archive Copy
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                                              ENDORSEMENT No. 11


       This endorsement, effective 12:01 AM: March 31, 2010
       Forms a part of policy no: BE         13074559
       Issued to:   KNIGHT OIL TOOLS INC

       By: CHARTIS SPECIALTY INSURANCE COMPANY


                           Commercial Umbrella Liability Policy with CrisisResponseSM

                                  Automobile Liability Follow-Form Endorsement

   This policy is amended as follows:

   Section V. EXCLUSIONS is amended to include the following additional exclusion:

   Automobile Liability

   This insurance does not apply to any liability arising out of the ownership, maintenance, operation, use or
   entrustment to others of any Auto owned or operated by or rented or loaned to any Insured. Use includes
   operation and loading or unloading of any Auto.

   However, this exclusion will not apply if coverage is provided for Bodily Injury or Property Damage by
   Scheduled Underlying Insurance.

   Coverage under this policy for such Bodily Injury or Property Damage will follow the terms, definitions,
   conditions and exclusions of Scheduled Underlying Insurance, subject to the Policy Period, Limits of
   Insurance, premium and all other terms, definitions, conditions and exclusions of this policy. Provided, however,
   that coverage provided by this policy will be no broader than the coverage provided by Scheduled Underlying
   Insurance.




   All other terms, definitions, conditions, and exclusions of this policy remain unchanged.




                                                                           Authorized Representative
                                                                      or Countersignature (Where Applicable)

80398 (07/02)
AH0885
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                                              ENDORSEMENT No. 12



       This endorsement, effective 12:01 AM: March 31, 2010
       Forms a part of policy no: BE        13074559
       Issued to:   KNIGHT OIL TOOLS INC

       By: CHARTIS SPECIALTY INSURANCE COMPANY


                           Commercial Umbrella Liability Policy with CrisisResponse

                                          Bacteria Exclusion Endorsement

   This policy is amended as follows:

   Section V. EXCLUSIONS is amended to include the following additional exclusion:

   This insurance does not apply to:

   Bodily Injury, Property Damage or Personal Injury and Advertising Injury or any other loss, injury,
   damage, cost or expense, including, but not limited to, losses, costs or expenses related to, arising from or
   associated with clean-up, remediation, containment, removal or abatement, caused directly or indirectly, in
   whole or in part, by bacteria.

   This exclusion applies regardless of any other cause, event, material, product and/or building component that
   contributed concurrently or in any sequence to that loss, injury, damage, cost or expense.

   It is understood that to the extent any coverage may otherwise be provided under this policy or any of its
   endorsements, the provisions of this exclusion will supersede.




   All other terms, definitions, conditions, and exclusions of this policy remain unchanged.




                                                                           Authorized Representative
                                                                      or Countersignature (Where Applicable)


90985 (5/06)
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                                              ENDORSEMENT No. 13


       This endorsement, effective 12:01 AM: March 31, 2010
       Forms a part of policy no: BE         13074559
       Issued to:   KNIGHT OIL TOOLS INC

       By: CHARTIS SPECIALTY INSURANCE COMPANY


                           Commercial Umbrella Liability Policy with CrisisResponse

                                        Cross Suits Exclusion Endorsement

   This policy is amended as follows:

   Section V. EXCLUSIONS is amended to include the following exclusion:

   Cross Suits

   This insurance does not apply to Bodily Injury, Property Damage, or Personal Injury and Advertising
   Injury to a Named Insured that is caused, in whole or in part, by any other Named Insured.




   All other terms, definitions, conditions, and exclusions of this policy remain unchanged.




                                                                           Authorized Representative
                                                                      or Countersignature (Where Applicable)


80411 (1/04)
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                                               ENDORSEMENT No. 14


       This endorsement, effective 12:01 AM: March 31, 2010
       Forms a part of policy no: BE          13074559
       Issued to:   KNIGHT OIL TOOLS INC

       By: CHARTIS SPECIALTY INSURANCE COMPANY


                            Commercial Umbrella Liability Policy with CrisisResponse

                                        Discrimination Exclusion Endorsement

   This policy is amended as follows:

   Section V. EXCLUSIONS is amended to include the following additional exclusion:

   Discrimination

   This insurance does not apply to any liability arising out of discrimination based upon age, gender, race, color,
   national origin, creed, religion, sexual orientation, marital status, veterans status, pregnancy, sickness, disease,
   disability, physical capabilities, physical characteristics, physical condition, mental capabilities, mental condition,
   or any other similar category or class, committed or alleged to have been committed by an Insured, or by
   anyone for whom an Insured is actually or allegedly responsible, whether intentional or unintentional, whether
   the discrimination is direct or indirect.

   No inference shall be made from the omission of a category or class in the above paragraph that coverage
   applies to that category or class.




   All other terms, definitions, conditions, and exclusions of this policy remain unchanged.




                                                                             Authorized Representative
                                                                        or Countersignature (Where Applicable)


86558 (8/04)
AH1454                  Archive Copy
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                                              ENDORSEMENT No. 15


       This endorsement, effective 12:01 AM: March 31, 2010
       Forms a part of policy no: BE         13074559
       Issued to:   KNIGHT OIL TOOLS INC

       By: CHARTIS SPECIALTY INSURANCE COMPANY


                           Commercial Umbrella Liability Policy with CrisisResponse SM

                                          Electromagnetic Fields Exclusion

   This policy is amended as follows:

   Section V. EXCLUSIONS is amended to include the following additional exclusion:

       Electromagnetic Fields

       This insurance does not apply to any liability arising from Electromagnetic Fields generated by the
       Insured's transmission lines, distribution lines or other equipment or facilities, if such Electromagnetic
       Fields are a result of the Insured's normal operations of generation, transmission or distribution of
       electricity.

   Section VII. DEFINITIONS is amended to include the following additional definition:

       Electromagnetic Fields means electric and magnetic fields generated by a varying electrical current
       through any medium including but not limited to wires and whether or not intended for the purpose of
       conducting electricity.




   All other terms, definitions, conditions, and exclusions of this policy remain unchanged.




                                                                           Authorized Representative
                                                                      or Countersignature (Where Applicable)

80418 (07/02)
AH0905
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                                              ENDORSEMENT No. 16



       This endorsement, effective 12:01 AM: March 31, 2010
       Forms a part of policy no: BE        13074559
       Issued to:   KNIGHT OIL TOOLS INC

       By: CHARTIS SPECIALTY INSURANCE COMPANY


                           Commercial Umbrella Liability Policy with CrisisResponse

                              Employers' Liability / Stop Gap Limitation Endorsement

   This policy is amended as follows:

   Section V. EXCLUSIONS is amended to include the following additional exclusion:

       Employers' Liability

       This insurance does not apply to Bodily Injury to any employee of the Insured arising out of and in the
       course of the employee's employment by the Insured.

       However, if insurance for such Bodily Injury is provided by a policy listed in the Scheduled Underlying
       Insurance:

       1. The above exclusion shall not apply; and

       2. Coverage under this policy for such Bodily Injury will follow the terms, definitions, conditions and
          exclusions of Scheduled Underlying Insurance, subject to the Policy Period, Limits of Insurance,
          premium and all other terms, definitions, conditions and exclusions of this policy. Provided, however,
          that coverage provided by this policy will be no broader than the coverage provided by Scheduled
          Underlying Insurance.




   All other terms, definitions, conditions, and exclusions of this policy remain unchanged.




                                                                           Authorized Representative
                                                                      or Countersignature (Where Applicable)


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AH1887                 Archive Copy
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                                               ENDORSEMENT No. 17


       This endorsement, effective 12:01 AM: March 31, 2010
       Forms a part of policy no.: BE          13074559
       Issued to:    KNIGHT OIL TOOLS INC

       By: CHARTIS SPECIALTY INSURANCE COMPANY


                             Commercial Umbrella Liability Policy with CrisisResponse

                    Employee Benefits Liability Limitation Claims Made Version Endorsement

   NOTICE: Please read this endorsement carefully. This endorsement provides coverage on a claims
   made basis. Except to the extent as may otherwise be provided herein, the coverage of this insurance
   is generally limited to liability for only those claims that are first made during the Policy Period and
   reported in writing to us.

   This policy is amended as follows:

   Section V. EXCLUSIONS is amended to include the following additional exclusion:

   Employee Benefits Liability

   This insurance does not apply to any liability arising out of:

    1. any violation of any of the responsibilities, obligations or duties imposed upon fiduciaries by ERISA or any
       similar law regarding workers' compensation, unemployment insurance, Social Security or any
       government-mandated disability benefits; or

    2. any act, error or omission committed by or on behalf of the Insured solely in the performance of one or
       more of the following administrative duties or activities:

       a. giving counsel to employees with respect to a Plan;

       b. interpreting a Plan;

       c. handling of records in connection with a Plan;

       d. effecting enrollment, termination or cancellation of employees under a Plan; or

       e. any claim against an Insured solely by reason of his, her or its status as an administrator, the Plan or
          you as sponsor of the Plan.

   However, this exclusion will not apply only if and to the extent that coverage for such liability is provided by
   Scheduled Underlying Insurance.

   Solely as respects this endorsement, this policy will only provide coverage for a Claim made against the
   Insured during the Policy Period:

       a) If the insurance provided by Scheduled Underlying Insurance provides coverage for Occurrences
          occurring on or after a specified Retroactive Date for a claim for damages because of Bodily Injury,
          Property Damage, Personal Injury or Advertising Injury first made in writing against any Insured in
          accordance with Paragraph b) below during the Policy Period or any Extended Reporting Period we
          provide and written notice is received by us during the Policy Period or Extended Reporting Period (if
          applicable).
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       b) A Claim by any person or organization seeking damages will be deemed to have been made at the
          earlier of the following times:

           1. When notice of such Claim is received and recorded by any Insured in writing and reported to us
              during the Policy Period or any applicable extended reporting period; or

           2. When we make settlement in accordance with Paragraph a) above.

   Notwithstanding the above, this insurance shall not apply to:

       1. any Claim alleging or arising out of an Occurrence committed on or after the Retroactive Date set forth
          in the Schedule Underlying Insurance, if the Insured, an officer, manager in your risk management,
          insurance or legal department or an employee who was authorized by you to give or receive notice of
          an Occurrence, knew as of the Continuity Date shown above that such Occurrence could result in a
          Claim.

       2. any Claim alleging or arising out the same Occurrence or series of continuous, repeated or related
          Occurrences or alleging the same or similar facts, alleged or contained in any Claim which has been
          reported, or any Occurrence of which notice has been given, under any policy of which this policy is a
          renewal, replacement or succeeds in time.

       3. any Claim alleging or arising out of any Claim or Suit pending as of the Continuity Date; or alleging or
          arising out of or relating to any fact, circumstance, situation or Occurrence alleged in such Claim or
          Suit.

   If Scheduled Underlying Insurance does not contain a Continuity Date, the Continuity Date will be the
   Retroactive Date.

   Coverage under this policy for such liability will follow the terms, definitions, conditions and exclusions of
   Scheduled Underlying Insurance, subject to the Policy Period, Limits of Insurance, premium and all other
   terms, definitions, conditions and exclusions of this policy. Provided, however, that coverage provided by this
   policy will be no broader than the coverage provided by Scheduled Underlying Insurance.

   Section VII. DEFINITIONS is amended to include the following additional definitions:

   Claim means a written demand upon the Insured for compensatory damages or services and shall include the
   service of Suit or institution of arbitration proceedings against the Insured.

   ERISA means the Employee Retirement Income Security Act of 1974 (including amendments relating to the
   Consolidated Omnibus Budget Reconciliation Act of 1985), and including any amendment or revisions thereto,
   or any similar common or statutory law of the United States, Canada or any state or jurisdiction anywhere in the
   world to which a Plan is subject.

   Plan means any plan, fund or program established anywhere in the world, regardless of whether it is subject to
   regulation under Title 1 of ERISA or meets the requirements for qualification under Section 401 of the Internal
   Revenue Code of 1986, as amended and which is:

   1. a welfare plan, as defined in ERISA or any similar law regarding workers' compensation, unemployment
      insurance, Social Security or any government-mandated disability benefits;

   2. a pension plan as defined in ERISA or any similar law regarding workers' compensation, unemployment
      insurance, Social Security or any government-mandated disability benefits; or

   3. a combination of 1. and 2. above.

   All other terms, definitions, conditions, and exclusions of this policy remain unchanged.




                                                                                  Authorized Representative
                                                                             or Countersignature (Where Applicable)
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                                              ENDORSEMENT No. 18


       This endorsement, effective 12:01 AM: March 31, 2010
       Forms a part of policy no: BE         13074559
       Issued to:   KNIGHT OIL TOOLS INC

       By: CHARTIS SPECIALTY INSURANCE COMPANY


                           Commercial Umbrella Liability Policy with CrisisResponse

                                    Employers' Liability Limitation Endorsement

   This policy is amended as follows:

   Section V. EXCLUSIONS is amended to include the following additional exclusion:

       Employers' Liability

       This insurance does not apply to Bodily Injury to any employee of the Insured arising out of and in the
       course of the employee's employment by the Insured.

       However, if insurance for such Bodily Injury is provided by a policy listed in the Scheduled Underlying
       Insurance:

       1. This exclusion shall not apply; and

       2. Coverage under this policy for such Bodily Injury will follow the terms, definitions, conditions and
          exclusions of Scheduled Underlying Insurance, subject to the Policy Period, Limits of Insurance,
          premium and all other terms, definitions, conditions and exclusions of this policy. Provided, however,
          that coverage provided by this policy will be no broader than the coverage provided by Scheduled
          Underlying Insurance.




   All other terms, definitions, conditions, and exclusions of this policy remain unchanged.




                                                                           Authorized Representative
                                                                      or Countersignature (Where Applicable)


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                                             ENDORSEMENT No. 19



       This endorsement, effective 12:01 AM: March 31, 2010
       Forms a part of policy no: BE        13074559
       Issued to:   KNIGHT OIL TOOLS INC

       By: CHARTIS SPECIALTY INSURANCE COMPANY


                           Commercial Umbrella Liability Policy with CrisisResponse

                                    Foreign Liability Limitation Endorsement
                       (With Total Terrorism Exclusion Applicable To Specified Countries)

   This policy is amended as follows:

   Section V. EXCLUSIONS is amended to include the following additional exclusion:

       Foreign Liability

       This insurance does not apply to Bodily Injury, Property Damage, or Personal Injury and Advertising
       Injury that occurs outside the United States of America, its territories and possessions, Puerto Rico and
       Canada.

       However, if insurance for such Bodily Injury, Property Damage, or Personal Injury and Advertising
       Injury is provided by a policy listed in the Scheduled Underlying Insurance:

       1. This exclusion shall not apply; and

       2. Coverage under this policy for such Bodily Injury, Property Damage, or Personal Injury and
          Advertising Injury will follow the terms, definitions, conditions and exclusions of Scheduled
          Underlying Insurance, subject to the Policy Period, Limits of Insurance, premium and all other terms,
          definitions, conditions and exclusions of this policy. Provided, however, that coverage provided by this
          policy will be no broader than the coverage provided by Scheduled Underlying Insurance.

       Not withstanding 1. and 2. above, this insurance does not apply to Loss, injury, damage, claim or Suit,
       arising directly or indirectly as a result of or in connection with Terrorism that occurs in the following
       countries:

           Afghanistan, Algeria, Central African Republic, Chad, Colombia, India, Iraq, Lebanon, Mauritania,
           Morocco, Nigeria, Pakistan, Palestinian Authority, Philippines, Somalia, and Yemen.

       It is understood that to the extent any coverage may otherwise be provided for these above listed countries
       under this policy or any of its endorsements, the provisions of this exclusion will supercede.

       Section VII. DEFINITIONS is a amended to include the following additional definition:

       Terrorism means the use or threatened use of force or violence against person or property, or commission
       of an act dangerous to human life or property, or commission of an act that interferes with or disrupts an
       electronic or communication system, undertaken by any person or group, whether or not acting on behalf of
       or in any connection with any organization, government, power, authority or military force, when the effect is
       to intimidate, coerce or harm:




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       1. A government;

       2. The civilian population of a country, state or community; or

       3. To disrupt the economy of a country, state or community.




   All other terms, definitions, conditions, and exclusions of this policy remain unchanged.




                                                                  Authorized Representative or
                                                                  Countersignature (Where Applicable)


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                                              ENDORSEMENT No. 20


       This endorsement, effective 12:01 AM: March 31, 2010
       Forms a part of policy no.: BE        13074559
       Issued to:   KNIGHT OIL TOOLS INC

       By: CHARTIS SPECIALTY INSURANCE COMPANY


                           Commercial Umbrella Liability Policy with CrisisResponse

                                          Fungus Exclusion Endorsement

   This policy is amended as follows:

   Section V. EXCLUSIONS is amended to include the following additional exclusion:
   This insurance does not apply to:
   Bodily Injury, Property Damage or Personal Injury and Advertising Injury or any other loss, injury,
   damage, cost or expense, including, but not limited to, losses, costs or expenses related to, arising from or
   associated with clean-up, remediation, containment, removal or abatement, caused directly or indirectly, in
   whole or in part, by:

                a. Any Fungus(i), Molds(s), mildew or yeast, or

                b. Any Spore(s) or toxins created or produced by or emanating from such Fungus(i), Mold(s),
                   mildew or yeast, or

                c. Any substance, vapor , gas, or other emission or organic or inorganic body or substance
                   produced by or arising out of any Fungus(i), Mold(s), mildew or yeast, or

                d. Any material, product, building component, building or structure, or any concentration of
                   moisture, water or other liquid within such material, product, building component, building or
                   structure, that contains, harbors, nurtures or acts as a medium for any Fungus(i), Mold(s),
                   mildew, yeast, or Spore(s) or toxins emanating therefrom.

   Paragraphs a., b., c. and d. above apply regardless of any other cause, event, material, product and/or building
   component that contributed concurrently or in any sequence to that loss, injury, damage, cost or expense.

   It is understood that to the extent any coverage may otherwise be provided under this policy or any of its
   endorsements, the provisions of this exclusion will supercede.

   Section VII. DEFINITIONS is amended to include the following additional definitions:

       Fungus(i) includes, but is not limited to, any of the plants or organisms belonging to the major group Fungi,
       lacking chlorophyll, and including molds, rusts, mildews, smuts and mushrooms.

       Mold(s) includes, but is not limited to, any superficial growth produced on damp or decaying organic matter
       or on living organisms, and fungi that produce molds.

       Spore(s) means any dormant or reproductive body produced by or arising or emanating out of any
       Fungus(i), Mold(s), mildew, plants, organisms or microorganisms.

   All other terms, definitions, conditions, and exclusions of this policy remain unchanged.




                                                                               Authorized Representative
                                                                          or Countersignature (Where Applicable)
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                                              ENDORSEMENT No. 21



       This endorsement, effective 12:01 AM: March 31, 2010
       Forms a part of policy no: BE         13074559
       Issued to:   KNIGHT OIL TOOLS INC

       By: CHARTIS SPECIALTY INSURANCE COMPANY


                           Commercial Umbrella Liability Policy with CrisisResponse

                                            Lead Exclusion Endorsement

   This policy is amended as follows:

   Section V. EXCLUSIONS is amended to include the following additional exclusion:

       Lead

       This insurance does not apply to any liability arising out of lead or the lead content of products.

       It is understood that to the extent any coverage may otherwise be provided under this policy or any of its
       endorsements, the provisions of this exclusion will supersede.




   All other terms, definitions, conditions, and exclusions of this policy remain unchanged.




                                                                            Authorized Representative
                                                                       or Countersignature (Where Applicable)


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                                              ENDORSEMENT No. 22


       This endorsement, effective 12:01 AM: March 31, 2010
       Forms a part of policy no: BE         13074559
       Issued to:   KNIGHT OIL TOOLS INC

       By: CHARTIS SPECIALTY INSURANCE COMPANY


                            Commercial Umbrella Liability Policy With CrisisResponse

                                      Marine Liability Limitation Endorsement
                         (Including Jones Act & U.S. Longshoreman and Harbor Workers)


   This policy is amended as follows:

   A. Solely as respects watercraft, Section V. Exclusions, Paragraph A. is deleted in its entirety.

   B. Section V. Exclusions is amended to include the following additional exclusion:

       Marine

       This insurance does not apply to any marine liability which includes, but is not limited to, the following:

                    Charterers Liability                     Protection and Indemnity Liability
                    Safe Berth Legal Liability               Ship Builders Liability
                    Towers Liability                         Stevedores Liability
                    Ship Repairers Legal Liability           Wharfingers Liability
                    Terminal Operation Liability             U.S. Longshoreman and Harbor Workers
                    Jones Act

       However, if insurance for marine liability is provided by Scheduled Underlying Insurance:

           1. This exclusion shall not apply to marine liability coverage for Bodily Injury or Property Damage;
              and

           2. Coverage under this policy for such Bodily Injury or Property Damage will follow the terms,
              definitions, conditions and exclusions of Scheduled Underlying Insurance, subject to the Policy
              Period, Limits of Insurance, premium and all other terms, definitions, conditions and exclusions of
              this policy. Provided, however, that coverage provided by this policy will not be broader than the
              coverage provided by Scheduled Underlying Insurance.

       Except, however, this insurance does not apply to, and nothing contained in this endorsement will operate
       to provide any coverage with respect to:

           1. Property Damage to any property in the Insured's care, custody or control; or

           2. The cost or expense of, or incidental to, the removal of the wreck of any vessel.

       even if such coverage is provided by Scheduled Underlying Insurance.

   All other terms, definitions, conditions, and exclusions of this policy remain unchanged.




                                                                            Authorized Representative
                                                                       or Countersignature (Where Applicable)

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                                              ENDORSEMENT No. 23


       This endorsement, effective 12:01 AM: March 31, 2010
       Forms a part of policy no: BE         13074559
       Issued to:   KNIGHT OIL TOOLS INC

       By: CHARTIS SPECIALTY INSURANCE COMPANY


                           Commercial Umbrella Liability Policy with CrisisResponse

                            MTBE and Other Fuel Oxygenates Exclusion Endorsement

   This policy is amended as follows:

   Section V. EXCLUSIONS is amended to include the following additional exclusion:

   This insurance does not apply to:

   Any liability arising out of methyl tertiary-butyl ether ("MTBE") and other fuel oxygenates including, but not
   limited to, the following:

   1. ether oxygenates, such as ethyl tertiary-butyl ether ("ETBE"), tertiary-amyl methyl ether (“TAME”), tertiary-
      amyl ethyl ether ("TAEE"), diisopropyl ether ("DIPE"), and dimethyl ether ("DME"); and

   2. alcohol oxygenates, such as ethanol (ethyl alcohol), methanol (methyl alcohol), and tertiary-butyl alcohol
      ("TBA").

   It is understood that to the extent any coverage may otherwise be provided under this policy or any of its
   endorsements, the provisions of this exclusion will supercede.




   All other terms, definitions, conditions, and exclusions of this policy remain unchanged.




                                                                             Authorized Representative
                                                                        or Countersignature (Where Applicable)




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                                              ENDORSEMENT No. 24



       This endorsement, effective 12:01 AM: March 31, 2010
       Forms a part of policy no: BE         13074559
       Issued to:   KNIGHT OIL TOOLS INC

       By: CHARTIS SPECIALTY INSURANCE COMPANY

                           Commercial Umbrella Liability Policy with CrisisResponse

                                   Professional Liability Exclusion Endorsement

   This policy is amended as follows:

   Section V. EXCLUSIONS is amended to include the following additional exclusion:

       Professional Liability

       This insurance does not apply to any liability arising out of any act, error, omission, malpractice or mistake
       of a professional nature committed by the Insured or any person for whom the Insured is legally
       responsible.

       It is understood this exclusion applies even if the claims against any Insured allege negligence or other
       wrongdoing in the supervision, hiring, employment, training or monitoring of others by that Insured.




   All other terms, definitions, conditions, and exclusions of this policy remain unchanged.




                                                                           Authorized Representative
                                                                      or Countersignature (Where Applicable)


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                                              ENDORSEMENT No. 25


       This endorsement, effective 12:01 AM: March 31, 2010
       Forms a part of policy no.: BE         13074559
       Issued to:   KNIGHT OIL TOOLS INC

       By: CHARTIS SPECIALTY INSURANCE COMPANY


                           Commercial Umbrella Liability Policy with CrisisResponse

                                    Radioactive Matter Exclusion Endorsement

   This policy is amended as follows:

   Section V. EXCLUSIONS is amended to include the following additional exclusion:

           Radioactive Matter

           This insurance does not apply to any liability arising out of radioactive matter or any form of radiation.

   It is understood that to the extent any coverage may otherwise be provided under this policy or any of its
   endorsements, the provisions of this exclusion will supercede.




   All other terms, definitions, conditions, and exclusions of this policy remain unchanged.




                                                                         Authorized Representative
                                                                    or Countersignature (Where Applicable)



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                                               ENDORSEMENT No. 26


       This endorsement, effective 12:01 AM: March 31, 2010
       Forms a part of policy no: BE          13074559
       Issued to: KNIGHT OIL TOOLS INC

       By: CHARTIS SPECIALTY INSURANCE COMPANY


                             Commercial Umbrella Liability Policy with CrisisResponse

                                             Silica Exclusion Endorsement

   This policy is amended as follows:

   Section V. EXCLUSIONS is amended to include the following additional exclusion:

   This insurance does not apply to:

   Any liability arising out of Silica, Silica fiber(s) or Silica Dust or any product(s) containing Silica, Silica fiber(s)
   or Silica Dust.

   Section VII. DEFINITIONS is amended to include the following additional definitions:

   Silica means:

   1. The substance commonly known as Silica; and

   2. Any substance or product which has the same or substantially similar chemical formulation, structure or
      function as Silica, by whatever name manufactured, formulated, structured, sold or distributed.

   Silica Dust means:

   1. Dust comprising of Silica only; and

   2. Dust comprising of Silica mixed with other dust or fiber(s) including, but not limited to, asbestos fibers.

   It is understood that to the extent any coverage may otherwise be provided under this policy or any of its
   endorsements, the provisions of this exclusion will supercede.




   All other terms, definitions, conditions, and exclusions of this policy remain unchanged.




                                                                               Authorized Representative
                                                                          or Countersignature (Where Applicable)




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                                               ENDORSEMENT No. 27


       This endorsement, effective 12:01 AM: March 31, 2010
       Forms a part of policy no: BE          13074559
       Issued to:    KNIGHT OIL TOOLS INC

       By: CHARTIS SPECIALTY INSURANCE COMPANY

                                                                                           SM
                           Commercial Umbrella Liability Policy with CrisisResponse

                                        Sexual Abuse or Molestation Exclusion

   This policy is amended as follows:

   Section V. EXCLUSIONS is amended to include the following additional exclusion:

   Sexual Abuse or Molestation

   This insurance does not apply to any liability arising out of:

       1. The actual or alleged abuse or molestation by anyone of any person while in the care, custody or
          control of any Insured; or

       2. The negligent employment, investigation, supervision, reporting to the proper authorities or failure to so
          report, or retention of a person for whom any Insured is or ever was legally responsible and whose
          conduct would be excluded by Paragraph 1. above.




   All other terms, definitions, conditions, and exclusions of this policy remain unchanged.




                                                                           Authorized Representative
                                                                      or Countersignature (Where Applicable)


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                                               ENDORSEMENT No. 28



       This endorsement, effective 12:01 AM: March 31, 2010
       Forms a part of policy no: BE          13074559
       Issued to:    KNIGHT OIL TOOLS INC

       By: CHARTIS SPECIALTY INSURANCE COMPANY

                            Commercial Umbrella Liability Policy with CrisisResponse

                       Testing or Consulting Errors and Omissions Exclusion Endorsement

   This policy is amended as follows:

   Section V. EXCLUSIONS is amended to include the following additional exclusion:

       Testing or consulting

       This insurance does not apply to Bodily Injury, Property Damage, or Personal Injury and Advertising
       Injury arising out of:

       1.   An error, omission, defect or deficiency in:

            a. any test performed; or

            b. an evaluation, a consultation or advice given,

            by or on behalf of any Insured;

       2.   The reporting of or reliance upon any such test, evaluation, consultation or advice; or

       3.   An error, omission, defect or deficiency in experimental data or the Insured's interpretation of such
            data.




   All other terms, definitions, conditions, and exclusions of this policy remain unchanged.




                                                                           Authorized Representative
                                                                      or Countersignature (Where Applicable)


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                                                ENDORSEMENT No. 29


       This endorsement, effective 12:01 AM: March 31, 2010
       Forms a part of policy no: BE            13074559
       Issued to:     KNIGHT OIL TOOLS INC

       By: CHARTIS SPECIALTY INSURANCE COMPANY


                              Commercial Umbrella Liability Policy with CrisisResponse SM

                                                  Time Element Pollution
                                           Self-Insured Retention Endorsement

   This policy is amended as follows:

   Section V. EXCLUSIONS, Paragraph Q. Pollution is deleted in its entirety and replaced by the following:

       Pollution

       This insurance does not apply to:

           1. Any Bodily Injury, Property Damage or Personal Injury and Advertising Injury arising out of
              the actual, alleged or threatened discharge, dispersal, seepage, migration, release or escape of
              Pollutants anywhere at any time;

           2. Any loss, cost or expense arising out of any request, demand, order or statutory or regulatory
              requirement that the Insured or others test for, monitor, clean up, remove, contain, treat, detoxify or
              neutralize, or in any way respond to, or assess the effects of Pollutants; or
           3. Any loss, cost or expense arising out of any claim or Suit by or on behalf of a governmental
              authority for damages because of testing for, monitoring, cleaning up, removing, containing, treating,
              detoxifying or neutralizing, or in any way responding to, or assessing the effects of Pollutants.

           However, Paragraph 1 of this exclusion will not apply to Bodily Injury or Property Damage arising out
           of any discharge, dispersal, seepage, migration, release or escape of Pollutants that meets all of the
           following conditions:
                i.    It was abrupt and neither expected nor intended by the Insured. This condition does not apply
                      to a non-routine incident where such discharge, dispersal, seepage, migration, release or
                      escape of Pollutants was a result of an attempt by the Insured to mitigate or avoid a
                      discharge, dispersal, seepage, migration, release or escape of Pollutants that was itself abrupt
                      and neither expected nor intended by the Insured and where substantial third party Bodily
                      Injury or Property Damage could have occurred;
                ii.   It commenced on a demonstrable, specific date during the Policy Period;
                iii. Its commencement became known to the Insured within (3) calendar days;
                iv. Its commencement was reported in writing to us within (30) calendar days of becoming known
                    to the Insured; and
                v.    Reasonable effort was expended by the Insured to terminate the discharge, dispersal, seepage,
                      migration, release or escape of Pollutants as soon as conditions permitted.

           However, nothing contained in this endorsement will operate to provide any coverage with respect to:

                i.    Any site or location principally used by the Insured, or by others on the Insured's behalf, for
                      the handling, storage, disposal, dumping, processing or treatment of waste material;
                ii.   Any fines or penalties;

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                iii. Any clean up loss, cost or expense arising out of any governmental request, demand, order or
                     statutory or regulatory requirement. However, this provision iii will not apply to third party clean
                     up loss, cost or expense otherwise covered by this endorsement that are also the subject of a
                     governmental request, demand, order or statutory or regulatory requirement;
                iv. Acid rain or acid runoff;
                v. Clean-up, removal, containment, treatment, detoxification or neutralization of Pollutants
                   situated on premises which the Insured owns, rents or occupies at the time of the actual
                   discharge, dispersal, seepage, migration, release or escape of said Pollutants; or
                vi. Any Bodily Injury, Property Damage or Personal Injury and Advertising Injury, or any loss,
                    cost or expense arising out of any discharge, dispersal, seepage, migration, release or escape
                    of Pollutants in knowing violation of or non compliance with governmental permits.

   For the purpose of this endorsement only, the SELF-INSURED RETENTION in ITEM 5. of the DECLARATIONS,
   is amended to include the following additional provision:

       $1,000,000 Each Occurrence (As respects all damages arising out of any discharge, dispersal, seepage,
       migration, release or escape of Pollutants covered under this endorsement). This Self-Insured Retention
       will not be reduced by Defense Expenses.

       The above Self-Insured Retention applies whether or not there is any available Scheduled Underlying
       Insurance or Other Insurance. If there is Scheduled Underlying Insurance or Other Insurance
       applicable to a Loss, amounts received through such Scheduled Underlying Insurance or Other
       Insurance for payment of the Loss may be applied to reduce or exhaust the above Self-Insured
       Retention if such policies were purchased by the Named Insured to specifically apply as underlying
       insurance to this policy. However, in no event will amounts received through such Scheduled Underlying
       Insurance or Other Insurance for the payment of Defense Expenses reduce the above Self-Insured
       Retention.
   For the purpose of this endorsement only, Section III. DEFENSE PROVISIONS Paragraphs A. and D. are
   deleted in their entirety and Paragraph A. is replaced by the following:
       We will have no duty to defend any Suit against the Insured. We will, however, have the right, but not the
       duty, to participate in the defense of any Suit and the investigation of any claim to which this endorsement
       may apply. If we exercise this right, we will do so at our own expense.

   For the purpose of this endorsement only, Section VII. DEFINITIONS is amended to include the following
   additional definitions:

       Defense Expenses means a payment allocated to defend a specific Suit, including but not limited to:
           1. Attorneys' fees and all other investigation, loss adjustment and litigation expenses;
           2. Premiums on bonds to release attachments;
           3. Premiums on appeal bonds required by law to appeal any claim or Suit;
           4. Court costs taxed against the Insured in any Suit;

           5. Pre-judgment interest awarded against the Insured; and

           6. Interest that accrues after entry of judgment.

 All other terms, definitions, conditions, and exclusions of this policy remain unchanged.




                                                                              Authorized Representative
                                                                         or Countersignature (Where Applicable)



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                                              ENDORSEMENT No. 30



       This endorsement, effective 12:01 AM: March 31, 2010
       Forms a part of policy no: BE         13074559
       Issued to:   KNIGHT OIL TOOLS INC

       By: CHARTIS SPECIALTY INSURANCE COMPANY


                                    Cancellation Clause Amended Endorsement
                                               (Credit Rating Trigger)


   TO THE EXTENT ANY PROVISION OF THIS ENDORSEMENT CONFLICTS WITH ANY PROVISION OF
   THE POLICY OR ANY OF ITS OTHER ENDORSEMENTS, THE PROVISIONS OF THIS ENDORSEMENT
   WILL SUPERSEDE.


   In consideration of the premium charged, it is hereby understood and agreed the Cancellation Condition of this
   policy is amended by adding the following provision to the end thereof:

           Notwithstanding the foregoing, in the event that a financial strength rating is issued (1) below A- by A.M.
           Best Co., or (2) below BBB by Standard & Poor's Ratings Services, for the insurance company
           providing this insurance (hereinafter "Credit Rating Downgrade"), this policy may be canceled by the
           first Named Insured referenced in Item 1. of the Declarations by mailing written prior notice to us or by
           surrender of this policy to us or our authorized agent. If this policy is canceled by the first Named
           Insured referenced in Item 1. of the Declarations within 30 days after such Credit Rating Downgrade,
           the insurance company providing this insurance shall retain the pro rata proportion of the premium
           herein.




   All other terms, conditions, definitions, and exclusions of this policy remain unchanged.




                                                                Authorized Representative
                                                                or Countersignature (Where Applicable)


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                                             ENDORSEMENT No. 31


        This endorsement, effective 12:01 AM: March 31, 2010
        Forms a part of policy no: BE       13074559
        Issued to:   KNIGHT OIL TOOLS INC

        By: CHARTIS SPECIALTY INSURANCE COMPANY


                           Commercial Umbrella Liability Policy with CrisisResponse

                                     Retained Limit Amendatory Endorsement

   This policy is amended as follows:

   Solely as respects coverages listed in the Schedule of Retained Limits, the following shall apply:

   1. The DECLARATIONS, ITEM 5. SELF INSURED RETENTION is deleted in its entirety.

   2. Section IV. LIMITS OF INSURANCE, Paragraphs B., G., H. and M. are deleted in their entireties and
      replaced by the following:

        B. The General Aggregate Limit is the most we will pay for all damages covered under this policy except:

           1. damages included within the Products-Completed Operations Hazard; and

           2. damages because of Bodily Injury or Property Damage to which this insurance applies, caused
              by an Occurrence and resulting from the ownership, maintenance or use of an Auto.

        G. If the total applicable Retained Limit(s) listed in the Schedule of Retained Limits are reduced or
           exhausted by payment of Loss to which this policy applies, we will:

           1. in the event of reduction, pay in excess of the remaining underlying Retained Limits; or

           2. in the event of exhaustion of the underlying Retained Limits, continue in force as underlying
              insurance.

        H. Defense Expenses will be in addition to the applicable Limits of Insurance of this policy. Provided,
           however, that if the amount of applicable Retained Limit over which this policy applies immediately in
           excess is specifically designated in the Schedule of Retained Limits as including Defense Expenses,
           then solely with respect to coverage afforded by this policy that is subject to such Retained Limit, such
           Defense Expenses will reduce the applicable Limits of Insurance of this policy.

        M. We will not make any payment under this policy unless and until the total applicable Retained Limit(s)
           have been exhausted by the payment of Loss to which this policy applies and any applicable Other
           Insurance have been exhausted.

           When the amount of Loss has been determined by an agreed settlement or a final judgment, we will
           promptly pay on behalf of the Insured the amount of such Loss falling within the terms of this policy.
           An agreed settlement means a settlement and release of liability signed by us, the Insured and the
           claimant or the claimant's legal representative.

   3.   Section III. DEFENSE PROVISIONS, Paragraph A. is deleted in its entirety and replaced by the following:

        III. DEFENSE PROVISIONS

        A. We will have the right and duty to defend any Suit against the Insured that seeks damages for Bodily
           Injury, Property Damage or Personal Injury and Advertising Injury covered by this policy, even if



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           the Suit is groundless, false or fraudulent when the applicable limits listed in the Schedule of Retained
           Limits have been exhausted by payment of Loss to which this policy applies.

           If we are prevented by law or statute from assuming the obligations specified under this provision, we
           will pay any expenses incurred with our consent.

   4. Section V. EXCLUSIONS, Paragraphs I.1., I.2., I.3., and M. are deleted in their entireties.

   5. Section V. EXCLUSIONS, Paragraph Q. is amended as follows:

       The last two sentences of Paragraph Q. are deleted and the clause "However, Paragraph 1 of this exclusion
       will not apply if coverage for such Bodily Injury or Property Damage as is described in subparagraphs 1)
       through 6) below is provided by Scheduled Underlying Insurance:", is deleted in its entirety and replaced by
       the following:

           However, this exclusion will not apply as described in subparagraphs 1) through 6) below:

       provided, however, that the above amendments to Section V. EXCLUSIONS, Paragraph Q., do not apply if
       a separate endorsement attached to this policy deletes and replaces Section V. EXCLUSIONS, Paragraph
       Q.

   6. Section VII. DEFINITIONS is amended to include the following additional definition:

       Defense Expenses mean payment(s) allocated to the investigation, settlement or defense of a specific
       loss, claim or Suit, including but not limited to:

       1. Attorney's fees and all other investigation, loss adjustment and litigation expenses;
       2. Premiums on bonds to release attachments;

       3. Premiums on appeal bonds required by law to appeal any claim or Suit;

       4. Costs taxed against the Insured in any claim or Suit;

       5. Pre-judgment interest awarded against the Insured; and

       6. Interest that accrues after entry of judgment.

   7. Section VII. DEFINITIONS, Paragraph D., subparagraph 1. is deleted and replaced by the following:

       1. damages covered by this policy that are in excess of the Retained Limit; and

   8. Section VII. DEFINITIONS, Paragraph M. is amended to include the following additional subparagraph:

       8. Any person or organization to whom you become obligated to include as an additional insured under this
          policy, as a result of any contract or agreement you enter into which requires you to furnish insurance
          to that person or organization of the type provided by this policy, but only with respect to liability arising
          out of your operations, including Your Work and Your Product, or premises owned by or rented to you.
          However, the insurance provided will not exceed the lesser of:

               a. The coverages and Limits of Insurance of this policy, or

               b. The coverage and Limits of Insurance required by said contract or agreement.

       However, no such person or organization is an Insured by virtue of this provision 8. of this Paragraph M. of
       Section VII. if such person or organization is a partnership, joint venture or limited liability company of which
       the Named Insured is a partner or member, or is a partner or member of such partnership, joint venture or
       limited liability company.

   9. Section VII. DEFINITIONS, the phrase "Notwithstanding any of the above:" and subparagraphs a. and b.
      thereunder appearing at the end of Paragraph M. are deleted in their entireties and replaced by the
      following:


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           Notwithstanding any of the above provisions 1. through 7. of this Paragraph M. of Section VII., no
           person or organization is an Insured with respect to the conduct of any current, past or newly formed
           partnership, joint venture or limited liability company that is not designated as a Named Insured in Item
           1 of the Declarations.

   10. Section VII. DEFINITIONS, Paragraph P. is deleted in its entirety and replaced by the following:

       P. Loss means those sums actually paid as judgments or settlements, provided, however, that if the
          applicable Retained Limit is specifically designated in the Schedule of Retained Limits as including
          Defense Expenses, then Loss shall include such Defense Expenses.

   11. Section VII. DEFINITIONS, Paragraph R. is deleted in its entirety and replaced by the following:

       R. Named Insured means:

           1. any person or organization designated in Item 1 of the Declarations;

           2. as of the inception date of this policy, any organization in which you maintain an interest of more
              than fifty percent (50%) as of the effective date of this policy, provided that coverage provided to
              such organization under this paragraph does not apply to any Bodily Injury or Property Damage
              that occurred or any Personal Injury and Advertising Injury that was caused by an Occurrence
              that was committed before you acquired or formed such organization or after you ceased to
              maintain an interest of more than fifty percent (50%) in such organization; and

           3. after the inception date of this policy, any organization, except for a partnership, joint venture or
              limited liability company, that you acquire or form during the Policy Period in which you maintain an
              interest of more than fifty percent (50%), provided that:

               a. coverage provided to such organization under this paragraph does not apply to any Bodily
                  Injury or Property Damage that occurred or any Personal Injury and Advertising Injury that
                  was caused by an Occurrence that was committed before you acquired or formed such
                  organization or after you ceased to maintain an interest of more than fifty percent (50%) in such
                  organization; and

               b. you give us prompt notice after you acquire or form such organization.

           Subject to the provisions of Paragraphs 3a. and 3b. above, a partnership, joint venture or limited liability
           company that you acquire or form during the Policy Period may be added as an Insured only by a
           written endorsement that we make a part of this policy.

           We may, at our option, make an additional premium charge for any organization that you acquire or
           form during the Policy Period.

   12. Section VII. DEFINITIONS, Paragraph Z. is deleted in its entirety and replaced by the following:

       Z. Retained Limit means the applicable limit(s) listed in the Schedule of Retained Limits.

           The Retained Limit(s) listed in the Schedule of Retained Limits will apply whether or not there is any
           available Scheduled Underlying Insurance or Other Insurance. If there is Scheduled Underlying
           Insurance or Other Insurance applicable to a Loss, amounts received through such Scheduled
           Underlying Insurance or Other Insurance for payment of the Loss may be applied to reduce or
           exhaust the Retained Limit. Furthermore:

               a. If the applicable Retained Limit is specifically designated in the Schedule of Retained Limits as
                  including Defense Expenses, then amounts received through Scheduled Underlying
                  Insurance or Other Insurance providing coverage to the Insured for the payment of Defense
                  Expenses shall reduce the Retained Limit.

               b. If the applicable Retained Limit is not specifically designated in the Schedule of Retained
                  Limits as including Defense Expenses, then amounts received through Scheduled


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                   Underlying Insurance or Other Insurance providing coverage to the Insured for the payment
                   of Defense Expenses shall not reduce the Retained Limit.

   13. Section VI. CONDITIONS, Paragraphs A. and C. are deleted in their entireties and replaced by the
       following:

       A. Appeals

           If the Insured or the Insured's underlying insurers do not appeal a judgment in excess of the total
           applicable Retained Limit(s), we may elect to do so. If we appeal, we will be liable for, in addition to
           the applicable Limits of Insurance of this policy, all court costs, expenses incurred and interest on that
           amount of any judgment which does not exceed the applicable Limits of Insurance of this policy
           incidental to such an appeal.

       C. Bankruptcy or Insolvency

           Your bankruptcy, insolvency or inability to pay or the bankruptcy, insolvency or inability to pay of any of
           your underlying insurers will not relieve us from the payment of Loss covered by this policy. But under
           no circumstances will such bankruptcy, insolvency or inability to pay require us to drop down, replace or
           assume any obligation within a Retained Limit.

   14. If another endorsement attached to this policy states specifically that the provisions therein supercede any
       other terms, definitions, conditions, and exclusions of any language in this policy or its endorsements, then
       the provisions of such other endorsement apply irrespective of anything to the contrary in the provisions of
       this endorsement. In all other cases, the provisions of this endorsement apply notwithstanding anything to
       the contrary in the other terms, definitions, conditions, and exclusions terms and conditions of this policy.




   All other terms, definitions, conditions and exclusions remain unchanged.




                                                                           Authorized Representative
                                                                      or Countersignature (Where Applicable)


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                                  Schedule of Retained Limits

Coverage(s)                                 Retained Limit(s)

GENERAL LIABILITY                                               SELF INSURED RETENTION OF:
(KNIGHT RESOURCES, INC)                                         $21,000,000
                                                                EACH OCCURRENCE
                                                                $22,000,000
                                                                GENERAL AGGREGATE
                                                                $21,000,000
                                                                PRODUCTS/C. OPS AGGREGATE
                                                                $21,000,000
                                                                PERSONAL & ADVERTISING INJURY

                                                                Defense Expenses are in
                                                                addition to the limit.




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                                              ENDORSEMENT No. 32


       This endorsement, effective 12:01 AM: March 31, 2010
       Forms a part of policy no: BE         13074559
       Issued to:       KNIGHT OIL TOOLS INC

       By: CHARTIS SPECIALTY INSURANCE COMPANY


                             Commercial Umbrella Liability Policy with CrisisResponse

                                        Designated Entity Sublimit of Insurance


   This policy is amended as follows:

   The DECLARATIONS ITEM 3. LIMITS OF INSURANCE is amended to include the following additional
   provisions:

       Sublimits of Insurance for all liability arising out of the products and operations of the entities
       referenced in the Schedule of Designated Entities

           A. $5,000,000            Each Occurrence Sublimit
           B. $5,000,000            General Aggregate Sublimit
           C. $5,000,000            Products-Completed Operations Aggregate.

   Section IV. LIMITS OF INSURANCE is amended to include the following additional provisions:

   The Sublimits of Insurance shown in ITEM 3. of the DECLARATIONS (as amended above) are the most we
   will pay for all damages under this policy with respect to the liability of the Insured arising out of the operations
   of the entities listed in the Schedule of Designated Entities to the extent covered under the terms, conditions
   and definitions of this policy. These sublimits are part of and not in addition to the Each Occurrence and
   Aggregate Limit of Insurance shown in the Declarations.

                                           Schedule of Designated Entities
   El Caballero, Inc.
   Le Chevallier




   All other terms, definitions, conditions and exclusions remain unchanged.




                                                                            Authorized Representative
                                                                       or Countersignature (Where Applicable)


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                                                        ENDORSEMENT NO. 33



         This endorsement, effective 12:01 AM: March 31, 2010

         Forms a part of policy no.: BE             13074559

         Issued to: KNIGHT OIL TOOLS INC

         By: CHARTIS SPECIALTY INSURANCE COMPANY




                              WATERCRAFT WORK PLATFORM COVERAGE ENDORSEMENT

        TO THE EXTENT ANY PROVISION OF THIS ENDORSEMENT CONFLICTS WITH ANY PROVISION OF
        THE POLICY OR ANY OF ITS OTHER ENDORSEMENTS, THE PROVISIONS OF THIS ENDORSEMENT
        WILL SUPERSEDE.

         This policy is amended as follows:

         1.       It is agreed that Section V. EXCLUSIONS, Paragraph A. will not apply to any liability arising
                  out of the deck space of tugs, barges, work boats, crew boats, drilling or workover barges,
                  when such watercraft is not operating under navigation and when such deck space is used
                  only as a work platform in connection with oil, gas, seismic or geothermal exploration
                  production operations of the Named Insured.

         2.       Regardless of the limited watercraft coverage provided by this policy, this policy excludes
                  any losses recoverable under any of the following or similar types policies: Environmental
                  Liability, or Hull coverage regardless of whether such insurance is actually in force at the
                  time of the loss and regardless of the limit of liability available under such insurance.

         3.       With respect to Protection and Indemnity and/or Charter's Liability coverage, this policy shall
                  follow the terms, definitions, conditions and exclusions of Policy number: OMH#5834617,
                  issued by Great American Insurance Company of New York, as were present as of the
                  inception date of this policy, subject to the policy period, limits of insurance, Schedule of
                  Self Insured Retentions, and all conditions of this policy.

         4.       Solely for purposes of coverage provided under this endorsement, the following supersedes
                  any Pollution Exclusion contained in or endorsed to this policy:

                  This insurance does not apply to any injury, damage, expense, cost, loss, liability or legal
                  obligation arising out of or in any way related to pollution, however caused. Pollution
                  includes the actual, alleged or potential presence in or introduction into the environment of
                  any substance if such substance has, or is alleged to have, the effect of making the
                  environment impure, harmful, or dangerous. Environment includes any air, land, structure or
                  the air therein, watercourse or water, including underground water.

                  We shall have no duty to defend any suit arising out of or in any way related to pollution.




All other terms, definitions, conditions, and exclusions of this policy remain
unchanged.


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                                                                                 or countersignature (where required by law)
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                                                        ENDORSEMENT NO. 34



         This endorsement, effective 12:01 AM: March 31, 2010

         Forms a part of policy no.: BE             13074559

         Issued to: KNIGHT OIL TOOLS INC

         By: CHARTIS SPECIALTY INSURANCE COMPANY




                                AIRCRAFT AND WATERCRAFT LIMITATION ENDORSEMENT

         This policy is amended as follows:

         For the purpose of this endorsement only and solely with respect to any and all references to
         watercraft, Section V. EXCLUSIONS, A. Aircraft and Watercraft is deleted in its entirety and
         replaced by the following:

         A.       Aircraft and Watercraft

                  1. This insurance does not apply to Bodily Injury or Property Damage arising out of the
                     ownership, maintenance, use, or entrustment to others of any aircraft or watercraft
                     owned or operated by or rented or loaned to any Insured. Use includes operation and
                     loading and unloading.

                  2. This exclusion applies even if the claims against any Insured allege negligence or other
                     wrongdoing in the supervision, hiring, employment, training or monitoring of others by
                     that Insured, if the Occurrence which caused the Bodily Injury or Property Damage
                     involved the ownership, maintenance, use or entrustment to others of any aircraft or
                     watercraft that is owned or operated by or rented or loaned to any Insured.


                  This exclusion does not apply to a watercraft you do not own that is not being used to carry
                  persons or property for a charge.




All other terms, definitions, conditions, and exclusions of this policy remain
unchanged.


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                                                        ENDORSEMENT NO. 35



         This endorsement, effective 12:01 AM: March 31, 2010

         Forms a part of policy no.: BE             13074559

         Issued to: KNIGHT OIL TOOLS INC

         By: CHARTIS SPECIALTY INSURANCE COMPANY




                                     SCHEDULE OF NAMED INSURED(S) ENDORSEMENT

         Knight Oil Tools, Inc
         Eddie R. Knight Children's Trust
         El Caballero, Inc.
         Excel Oil Tools, Inc.
         H & K Rentals, Inc.
         Harmon Rentals, Inc.
         Hub City Iron Works, Inc.
         K & P Rental Company, Inc.
         K-Bam, Inc.
         Knight & Phillips Specialties, Inc.
         Knight Acquisitions, Inc.
         Knight Aviation, LLC
         Knight Companies, Inc.
         Knight Family Enterprises, LLC
         Knight Fishing Services, Inc.
         Douglas Oil Tools, Inc.
         Knight Resources, Inc.
         Knight Specialties, Inc.
         Knight Well Services, Inc.
         Le Chevallier, Inc.
         Robinson Tubular Services, Inc.
         Tri-Drill, Inc.
         Prideco
         Myco
         Knight Manufacturing, Inc.
         Advanced Safety Training & Management, Inc.
         HMC Leasing, Inc.
         Knight Saw Services, Inc.
         Knight Information Systems, LLC
         Knight SK Properties, LLC
         Knight International, LLC
         The Knight Companies Profit Sharing 401 (k) Plan
         Rayne Properties




All other terms, definitions, conditions, and exclusions of this policy remain
unchanged.


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                                                                                 or countersignature (where required by law)
